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       Attach. A
         Case 1:13-cv-01582-RDM
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                        U. S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                                     MIAMI DISTRICT OFFICE
                                         HEARINGS UNIT



 Sylvia E. Farrington,                                                  EEOC No . 5 1 0 - 2006 - 0021BX
                                                                        Agency No. 05 - 00085
                  Comp la inant ,

            v.

 Michael Ch e r tof f , Secret ary,
 Dep a r t ment of Homelan d Secu ri t y,
 Federal Emergency Manageme nt Agency ,

                   Agency .



                                           ORDER ENTERING
                                              JUDGMENT

        For      t he    reasons       set     for t h     in     the     e nclosed      Decision ,        dated
Septe mber       26 ,   2008 ,     j udgment i n t he a bove-cap tioned matter is hereby
enter ed i n favor o f t h e Compl a ina nt.
        The      Deci sion       was    i ssu ed    after        a     hea ring    and    copies      of     the
tran scri pts have a l ready been provi ded to both part i es' representatives
so they coul d f i le their post-hearing briefs.                                Th e originals and the
mini-tr anscripts are enclosed f or Barbara Montoya, Acting Chief Counsel
fo r    Litiga tion          for    t he     Federal        Emergen cy          Management     Agency         in
Washington, D.C.
        A     copy      of   the       Decision     h as        been    sen t     to   the   Comp l ainant,
Complainant ' s          Representat ive ,         the     Ag ency's        Representative,           Barbara
Mon toya f or FEMA in Washi ngton D. C. ,                        and the Department of Homeland
Securi ty' s Off i c e for          Civi l     Ri ght s and Civil Liberti es in Washi ngton ,
D. C.    I n addition, a Notice to the parties exp l aini ng the appeal rights
is attached to t he Decision .
        The r e p ort of investiga ti on wi l l be retain e d at t h is off ice for a
period of sixty days,                  after    which it wil l            be    discarded.     Should the
Agency wish to retrieve this file ,                      it mu st make arrangements to do s o




                                                                                                                   ./
Jan 20 12 Ol:OOp     S~lvia   E. Farrington          C828l   251-6222
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       in that   time by calling the undersigned Administrative Judge at         the
       number listed below.
            A copy of the Agency's Final Order should be sent to this office,
       to the a ttention of the Administrative Judge below.
            It is SO ORDERED.




                                                   September 26, 2008
       Ev e G. Friedli                             Date
       Administrative Judge
       U.S. Equal Employment Opportunity Commission
       One Biscayne Tower, Suite 2700
       2 South Biscayne Blvd.
       Miami, FL 33131
       (305) 808-1826


                                 CERTIFICATE OF SERVICE

       For timeliness purposes, it shall be presumed that the parties received
       the foregoing ORDER ENTERING JUDGMENT and DECISION within f i ve ( 5)
       calendar days after the dat_e it was sent via first class mail.       I
                                   '-:> .
       certify that on September .-1( ) , 2008, the forego ing ORDER ENTERING
       JUDGMENT and DECISION was sent via first class mail to the following:

       Sylvia E. Farrington
       P.O. Box 1463
       Enka, North Carolina 28728

       Ray S. Smith III, Esq.
       MARSHALL & LUEDER, LLC
       Five Concourse Parkway, Ste. 2600
       Atlanta, GA 30328

       Sabr ina Dennis, Trial Attorney
       Off ice of General Counsel
       Federal Emergency Management Agency
       500 C Street, S.W. Suite 840
       Washington, D.C.   20472

       Barbara Montoya, Acting Chief Counsel for Litigation
       Office of Chief Counsel, Room 840
       Department of Homeland Security
       Federal Emergency Management Agency
       500 C. Street, S.W .
       Washington, D.C.  20472
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Department of Homeland Securi ty
Office f o r Civ il Rights and Civil Liberties
Room 3310
245 Murray Drive, N.W., Bldg. 410
Washington, D.C. 20528

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                                                 't   ••

                                                 Debra J/ Cunn'i·ngham                                      /     i ..;;;
                                                 (305) S08 - 1820
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                  UNITED STATES OF AMERICA
            EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                  MIAMI DISTRICT OFFICE
                          DECISION


 In the matter of :                  EEOC No . 510-2006- 00218X
                                     Agency Case No . 05-00085

 Sylvia Farrington,

                     Complainant ,

   v.

 Micha.el Che rto f f, Secretary,
 Department of Ho meland Securi ty,

                      Agency .




 Complainant ' s Repre senta t ive       Ray S. Smith , Esq .
                                         Mel inda A . Garlington , Esq .

 Agen cy Representative                  Sabrina Den nis, Esq .
                                         Patrick Preston, Esq .

 Nature of Complaint                     Discr iminat ion :
                                         Race (African - American) , Sex
                                         (Female) ,    and  Retaliat i on
                                         (prior EEO activity)

 Administrative Judge                    Eve G. Friedli
                                         One Biscayne Tower
                                         2 South Biscayne Boule v ard
                                         Suite 2700
                                         Miami , Florida 33131


 Date of Dec ision                       September 26 , 200 $____.,
----   - -----..---- ...
                       :             -     ---   - --·-- --· •M··----

 Place of Hearing                        Lake Mary , FL
'°' CU I   C-U   .LC-   U   .L •   U.L,...       V.=1.LV.1.CJ   L..•    I   CJI   I   .LllG"Ull                                                .- . . . .
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                            I. FACTUAL AND PROCEDURAL BACKGROUND

                                   Sylvia        Farrington                 ("Complainant")                 worked       as      a    Branch
                  Chief in Orlando ,                         Florida ,                 for the United States Department
                  of        Homeland              Security,                 Federal           Emergency          Management           Agency
                  ("Agency" or "FEMA") . She believes she has been discriminated
                 against                 since June 2001 and continuing to the present .                                                 She
                 made              initial contact                     with an             EEO      counselor to           discuss      her
                 allegations                     on    July            7,     2005 .         See        Report    of     Investigation
                  ("ROI "), Exhibit Bl, p . 1 .
                               The Notice of Right to File a                                            Discrimination Complaint
                 was issued to the Complainant on September 27,                                                         2005 . I d . Sh e
                 filed              a        form~~-omp~-~~-r:t ,                     dated October 10,                2005 ,    a lleging
                 that she was discriminated against on the basis of race, sex,
                 and          reta l iation              (EEO          activity              in     informal      meetings) .          ROI ,
                 Exhibit Al , pp . 1-7.
                              After further processing by the Agency,                                              the Complainant
                 requested a hearing on July 14 ,                                                 2006.    This h earing request
                 was timely because it wa s                                           within t hirty days from when she
                 r eceived a copy of t he RO I .
                              The case was                   assigned to an Administrative Judge.                                      Pre -
                 Hearing Conferences were held on January 17 ,                                                         2007 ;    February
                 22 ,       2007 ;            and February 28 ,                       2007.       A hearing was h eld on May
                 15, 16 , 17 , 18 of 2 007.
                              Jurisdiction                 is _predicate_<!.- Q..D__titJ._e_ _ \l.I.L. of                       the   Civil
                 Rights Act                     of 1964 ,        as amended ,                     42 U.S.C.      Section 2000e-16
                 ("Ti tle VI I").                     The regulations authorizing these proceedings
                 are                    found           at              29               C. F.R.           Section              1 614.109 .




                                                                                                    2
.JcHl   CU    J.<::   UJ. :UJ.f'       ~~1v1a      c .   rarr1ngton                                                                  F'. 0
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             II . ISSUES


                         Whether the Complainant was discriminated against on the
              basis           of      race        (African-Ameri can),                      sex         (female) ,             and
              r e taliation           (prior EEO activity)                    when :       ( 1)   she was allegedly
              wrongfully subjected to an administrative investigation whi ch
              began in Apri l               of 2005 ,      and culminat ed on May 27 ,                          2005, when
              she       was        abruptly      released           from      t he     Joint       Field        Off ice         in
             Orlando,              Florida,      pending          the     outcome          of     an     undefined             and
             unresolved              adminis t rative             investigation,                  and    said        release
              occurred with the additional embarrassment and degradation of
             security              guards      positioned            in    the       area;        and     (2)        she       was
             al leged ly            subjected      to     an      ongoing        hostile           work       environment
             since          June      20 01,      to     the        present,         during         which        time          her
             authority               was       undermined            and       mis repres ented                 by      other
             Mitigation              staff       and     management            officials ,              and     after          the
             release of the administrative investigation said investigation
             was broadcast by employees and management officials .


             III. EXHIBITS
                        Reference          may    be      made       to       the      hearing          transcripts
              ("H . T.") for a listing of exhibits.

             IV. LEGAL ANALYSIS AND FINDINGS OF FACT
                          The       Complainant          wor ked        for     FEMA        since        1996    as        a
             Disaster              Assistance            Employee             ("DAE") .           Testimony            of
             Complainant,              H.T.,      p.      229 .      She       had     a      consistent             work
             history of being deployed over eight                                      years with             FEMA     in
             senior l evel management positions f or catastrophic events .
             ROI,        Exhibit       Al .      She      had       also      been         the     recipient           of
             nume rous awards and bonuses. Id .; ROI , Exhibit (hereinafter
                                                                3
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              The Complainant ,            an    African-American fema l e ,               alleged
      that the Agency discriminated against her                                on the basis of
      race      (African - American),             sex      (female) ,         and     ret a liation
       (prior EEO activity during i nfo rmal meeti ngs)                              when she was
      subjected to a h osti l e work environment s ince June 20 01 , by
      having her author ity undermined and misrepresented,                                  and by
      t he Agency p ub l ically announcing t o employees and managers
      that     s he    had been under            administrative              inves tigation and
      relea sed from h er position.                    ROI ,    Ex .    Al.    The Compl ainan t
      also a l lege d t hat the d iscriminatory ma nner                            in how she was
      released on Ma y 27 ,           2005 ,     further embarra ssed and degraded
      he r   whe n t he Agency p laced                armed security gua rds               outs ide
      her     work area        to monit or        her     while        she    was    packing        her
      belongings .
               The       Agency       denies           discr i minating             against         the
      Complainant or harassing her .                    Th e Agency contends s h e was
      not     undermi ned      and    that      the     administrative              investigation
      was necessary due to employee complaint s made against her.
      It     explained t hat         her    release        was      j ustified       due   to       her
      deficiencies as a supervisor .


             Administrative Investigation and Release with Armed
                Security Guards Being Positioned in the Area


              Todd Davison was o ne of the Complainant ' s highe r level
      s uperv i sors .    He    was    the       Mitigation            Re gion      Director    for
      Region     4.    Davison,       H. T.,      p.     77 .     The     Complaina nt        was    a
      member      of     his    Cadre 1 •       Davi son ,       H.T .,       p.    8 1.   Davison
      described her as a             va lued e mpl oyee who had extreme l y high

1 A Cadre is a grouping of employees .           Davi s on ,    H. T ., p. 79 .
                                                  4
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      standa rds. Davison, H. T., pp. 108, 142.
            Clay       Saucier,           one       of        th~     Complainant's            previous

      supervisors ,          test ified           that         t he    Compl ainant          was      very

      p ro fes sional,        enthusiastic ,                 and      hard    working.         Saucier ,

      .H. T . , pp . 734-735 .
             From      August            16, . 200 4,          until      May      2 7,     2005 ,     the
                                                                                                           2
      Compl ainant was depl oye d to the Orlando Joint                                    Fi eld Off ice
      ("JFO" )      in Florida ,          where she served as a Branch Chief o f
      Community            Education            and          Outreach .       Her          duties      and
      responsibilities             included           managi n g        mit igation ,         planning,
      and      responding                to      catastrophi c               events.          She      had
      responsibility           for        deployment           of     40 0-500      employees .        She
      served     as    Branch         Chief       until        she     was    re leased       from     her
      position o n May 27,                 2005 ,     short ly aft er an administrative
      investigation was concluded. ROI, Ex. C-4, p . 1 .


                                      Prima Facie Retaliation Case


               It     is    t he   burden        of      a     Compl ainant        to      establish      a
       prima        facie     case         by    either            direct     or    c i rcumstantial
       evidence .          See Lee v.           Russell County Board of Education ,
       684 F . 2d 769,         77 4       (11th Ci r.         1982);      Zakl ama v .       Mt.     Sin ai
       Medical Cente r ,           8 42 F. 2d 291             ( 11th Ci r .    1 98 8) .     No direct
       evidence        has    b een       presented            in     this    case ;       however,     if
       direct evidence is not presented then a                                     Complainant may
       still     es t ablish         a        prima      facie        case    of    discr iminat i on
       through circumstantial evidence .                              McDonnell Douglas Corp .


2 During May 2005 the JFO changed i n to a Long Term Recovery Office. This allowed
services to be rendered f or a longer p eriod of time, which resulted in some DAE
e mployees becoming fu ll time employees with a contract for work lasting anywhere
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  v.       Green,      41 1     U.S.     792,        802    (1973);         see          a l so,            Furnc o
  Construction Corp. v. Waters, 438 U.S. 567, 576 (1978).
           A Complainant may                est ablish         a    prima          facie             case             of
 retaliation by showing that that:
           1)  sh e enga g e d in a prote cted activity;
           2)  the responsible Agency o f ficial         kn ew o f
           that activity;
           3) she was subject~d to adverse trea t ment b y t h e
           Agency; and
           4) the adverse treatment followed the protected
           activity clo se enough in time and in such a
           manner so that there can be an inference of a
           nexus between the protected act i v i ty and the
           motivation for the action.

See, Payne v. New York Power Authority,                                  997 F. Supp.                         49 2 ,
500    (S.D. N.Y.              1998);    Brown v.          ASD Computing Center,                                     51 9
F. Supp.         1096, 1114-15              (S.D. Ohio 1981); Cummi ngs v. Air
Force, EEOC Appeal No. 01972343 (December 15, 1 99 8 ); Kelly
v.     VA,      EEOC          Appeal    No.      01956660           (January               23,          1998);
Jackson v. USPS,                EEOC Appe al No.            01945098           (May 29,                 1996);
Wienecke         v.    HHS,      SSA,     EEOC Appeal              No.   01941659                    (May             2,
1995) ;      Wilson v.           Treasury,        EEOC Appe al No .                 01934 411                 (May
25, 1994).
        The      Compla in a nt         testified tha t             in   Januar y 2005                             she
                                                                                                               ..-
                                                                         -=:=::.::::=.·=:--~::::.:.-:-:~~···:··-

had    a
Lamb 3 ,
                          -the - Complainant'
             conversa t ion wi th
            ------~---·-...

             a bout
                                      her i rmnedia te s upe r visor , Jane t
                                 ..---------- ---···· -·-·~··· ··-··-·-- ---~-----------
                                              s c o n c e r ns ab out Lamb' s


3 J a net Lamb was th e Deputy t o t h e Mi t igatio n Br a n c h Ma nager f or th e
JFO f rom Augu st 1 6 , 2 004, t h rough Januar y 22 , 2 0 05 . Conuni s s i on Ex. 4;
ROI, Ex. F3 , p. 2 . Whe n s h e l eft Clay Saucie r replaced h er a n d serve d
i n t he posit ion from J an ua r y 200 5 t h rough mi d-Ap r i l 2005 .      Sau cier ,
H.T., p p . 7 04 - 709.    During this t irnefra me , the Comp l aina nt r e por ted t o
Sau c i e r . Sa ucie r , H. T ., p. 70 9 . After Clay Sauci e r l eft in mid- Apri l
200 5 , J anet Lamb r et urned a s t h e Depu t y to t h e Mi ti gat ion Br a n ch
Manager in Orlando , Flo r ida , from Ap r i l 18, 2 0 0 5 , u nt i l Augus t 2 0 05 .
Conuni ss i on Ex . 4; La mb, HT, pp . 862 , 935 .

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                negative                     actions         towards           non-whi te          staff,       including
                herself.                   ROI,     F-1 ,   p.     17. Complainan t            told Lamb that she
                beli eved in the past Lamb had used the word "darkie" and
                that if she continued to undermine her a u t h orit y in the
                workplace                    that     she    would        file        an    EEO complaint         against
                her.              Complainant,                H.T.,       pp . 309- 310,           407; ROI, A- 1, p.
                6.
                             Janet Lamb denies the Complainant threa tened to file
                an         EEO          complaint.           Lamb,         H.T.,       p.     932 .    However,        Lamb
                acknowledged during the above conversation the Complainant
                told her about Complainant ' s                                      belief that she           [Lamb]     had
                allegedly                   used      the    word darkie               in    2001,     and     about     her
                al leged undermining conduct towards the Complainant. Lamb,
                H.T.,             p.       895;     ROI,     Ex.    F3,        p.    5 . Lamb denied ever using
                this word and asked the Complai nant if s he t h ought she had
                used it why did she wait so long to clear the a i r.                                                   Lamb
                t e stified t ha t                   she was "very upsetu over the allegations
                about               having            used         the         word darkie.           Lamb,     H. T.,   p.
                895.
                             Shortly after the above conversation , the Complainant
                was subj ected to an administrative investigat i on , re l eased
                from              her        Branch         Chief        position ,          and     her     termination
                recommended against any future emp loymen t wit h FEMA.                                                ROI,
                Ex . F-17 ; Commission Ex. 4.
                            The            evidence         shows     that          during    the     timef rame       when
                Janet Lamb had been replaced in Orlando,                                            Florida , by Clay
                Saucier                    a nd     Lamb      was        no         longer     the         Complainant ' s
                supervisor, Lamb inst r ucted Wayne Box, a Special Assistant
                to the Mitigation                           Director ,         to document            complaints made
                against the Complainant to provide to Saucier . Lamb , H. T .,

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pp . 862-863 ; 953 ; ROI , F3, p. 5 . By April 2005 , Wayne Box
had     a l so     been      networking           with       Cindy     Bourgeois ,             Deputy
Admin . Section Chief,                   regardi ng personne l              issues that had
been        described              as     "escalating. "              Commission              Ex.      4
(Memorandum for the Record , dated April 13, 2005).                                            Sandra
Flowers ,         one      of      the    Complainant ' s            empl oyees,          e-mai l ed
Cindy         Bourgeois            about        her     dissatisfaction                  with        the
Complainant on Apri l 13 , 2005 . ROI , Commission Ex . 4 .
        Soon        thereafter ,           on     April       18 ,     2005,        Jan et          Lamb
returned to Orl ando and replaced Clay Sauci er.                                         Lamb once
again       served         as      the     Deputy       to    the      Mi t igation            Branch
Manager and as such ,                    s h e resumed being t h e Complainant 's
supervisor.              Wi thin    her     first       week back ,          Lamb        continued
providing instru ction to have the Complainant documented,
this time telli ng Sandr a Flowers on Apri l 22 , 2005 , to put
her concerns about the Complainant in writing . Lamb, H. T .,
p.    951 ;      ROI ,     Tab F3 ,       p.    5.    On April 23 ,           2005 ,          Luletha
Cheatham, a new DAE employee , also placed her concerns in
an e - mail which she sent to Cindy Bourgeois .                                         Commission
Ex . 4 .
        I     find       that      soon    a f ter      J anet       Lamb   had         inst ruct ed
Wayne       Box     to     document        complaints          about        the     Complainant
t hat two written complaints surfaced and the Agency began
an "administrative investigation . " Commission Ex . 4. As a
result ,      the Complainant was further scrutinized by Kathy
Johnston , a Human Resources Specialist, who conducted the
investigation. She interviewed Wayne Box , Janet Lamb , Todd
Davison ,         Clay      Saucier ,          a nd    approxi mate l y            ten     of       the
Complainant ' s              employees .              Corrunission          Ex .         4.         The
administrative              investigation             was     completed            by     May       24 ,

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2005,     and the Complainant was released from her position
as a Branch Chief by May 27, 2005.                             Commission Ex .                 4. The
evidence also showed t hat when she was releas e d that armed
guards were placed outside her wo rk area fo r                                    surveillance
purposes until she left with her belongings.                                       ROI ,       C4 , p .

2 . As will be discuss ed in detail later in this Decision ,
the      release,           in     turn,      resulted            in     the        Complainant
receiving        lesser          pay    and       adversely            impacting              her   job
opportunities.
        Based upon the above ,                the____ ~ompla inant 1'.1~~!-~l~-----!__<?_~
                                                                                        case         of
                           ------- ----- - - ----·-                 -
elements         of         establishing           a      prima          f acie
,- - - - ·- ·- - -                                                            -    - - - --- -·- ·-
reta l iation. I find that she engaged in protected activity
-~-----·~-


when she had a discussion with J anet Lamb about how she
treats non-whites and the Complainant ' s belief that Lamb
had used the word the darkie.                          She told Lamb she thought
Lamb was undermining her. I find that the Complainant also
told Lamb if she did not change her conduct then she would
file     an EEO complaint.                 Even if       the      Complainant                 had not
raised     the    possibility            of   filing         an    EEO     complaint,               her
conversation still constituted                         protected activity because
                                   ·- - - - -- - ------ ---- ---··
she was raising con cerns with Lamb over how Lamb treat ed
---- ···----- ----- -                              --------~                  ·-·- - - -- - - ·
non-white s and whether she used the word darkie . Lamb was
---------             .-                               -· - - . - - - - --- -       ------.
aware of this activi t y because she was present during the
conversation.
        The Complainant was subjected to adverse treatment by
the    Agency when            it     released her            from       her       position          for
cause,       thereby             terminating           her     · Orlando             assignment
prematurely.          The release occurred on May 27,                              2005 ,       which
fol l owed   her           January     2005   conversation               with       Lamb        close
enough in t i me and in such a manner so that there can be

                                              9
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an inference of a nexus between the protected activity and
     -------------~--~         -··---- · -- -· ·---------·----·--·--------..- - -·-----...____
                                                                                             ___ -- ----· ---
the motivation for the action .
----·-- --· ____ .._----·-----
                         ,.                               ---
                                                 -----·------~-·------


                           Prima Facie Disparate Treatment Case
                                 on the Bases of Gender and Race

               The Complainant may establish a                                                                              circumstantial prima
 f acie case of disparate treatment based on race                                                                                                  (African-
 American)                        and sex                       (female)                      by proving by a preponderance
 of the evidence that she is a member of a protected class
 and she was treated differentl_y---- than a
                                         ·-------~--~ ---~·-·---·----·-----··
                                                                                                                                 similarly situated
                                                                                                                  --~--·-·"·-----~. -·---~- ----,


 individual                             outside                      of           her             Rrotected                      class.       See        ~,
--·--···-· -------·-·-~' --· ....                                    ---·-------                    ~----------,-----·~

 Ramsey v. American Air Filter Co. , 772 F .2d 1303, 1307                                                                                                  (7 th
 Cir.           1985};                     Potter v.                          Goodwill                             Indus.        of Cleveland,             518
 F.2d 864, 865                                  (6th Cir. 1975); Scorcia v. USPS, EEOC Appeal
 03980074                       (Feb.               22,            1999};                   Freeman v .                       Labor,       EEOC Appeal
 No.         01921738                         (Oct.               26,           1992);                  Owens v.                 Army,     EEOC Appeal
 No. 01911871 (Sept. 23, 1991).
               In order for a comparative employee to be considered
 similarly                             situated,                              al l                relevant                       aspect s          of     the
 Complainant 's                                     employment                                 situation                         must       be          nearly
 identical                        to             those                 of            any                comparat ive                 e mployees.          See
O'Neal v. USPS, EEOC Appeal No. 05910490                                                                                         (July 23, 199 1) .
               Factors                          that                  are                considered                           to        determine           if
comparators                              are            similarly                          situated                       incl ude:        ( 1}     wh ether
the           comparators                                 reported                         to            the              same     supervisor;             (2)
                                                                           ----------···-~--·- -·- ··..                    ---·--·----····--- --
whether they performed the same job functions; ( 3) whether
                                  ...·.-----·- ----·---·.·
                              ------·-- ··--·---- ----··--· ·--~·--·-·-----


they were on the same tour ;         (4)    whether they were
disciplined during the same time___ p~~_:i,oq_!                                                                                    and      (5 )    whethe r
   -·-·   - -- ---·-- · --- -- - -- -                -·· -- ·-- .. ----- ------- -   -- ---- - -
they             we re                 s ubjected                           to           the             same standards
                -- .. - ··- .......
                     ,                ..... --- -··--·· .... . -·· ··-···· ······- -··- --·-·----·---      -- -······ ..
                                                                                                         ..............  -- ___,.... -- ---
discipline                              and               engaged                         in             conduct         similar                   to     the
Complainant's                                       without                          distinguishing                                 or       mi tig a ting
                                                                                                                                                                   .   -   "'""'\



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 circumstances .                  O'Neal       v.    USPS ,       supra,       citing ,         Allen      v.
--·--"-···-- -·-· ----·~··-··-
 Department of the Navy,                            EEOC    Request No .              05900539         (June
 15 ,       1990);           Guerrero          v.    USPS,        EEOC     Appeal            No.01931635
  (Decembe r            21 ,     1993) ;    Kalivretenos v .               USPS ,       EEOC Request
 No.       05890884              (October 13 ,          1989);        Prichard v .           USPS,      EEOC
 Request No.05880261 (July 19 , 1988); Jackson v. Department
 of the           Navy,          EEOC     Request         No . 05880091        (June         22 ,     1988);
 Wright v. USPS, EEOC Request No . 05870622 (May 6 , 1988).
         The        Complainant             contends            that    Shabbar         Saiffee           was
 similarly situated to her, but treated more favorably than
 her even though he had engaged in behavior much worse than
 anyt hing she was alleged to have done . Shabbar Saiffee , an
 East Indian                 (Compla i nant ,         H.T . ,    p.     346; ROI,            Ex.    Fl,   p.
 16),       served as the technical service Branch Chief in the
Mitigation Division in Orlando ,                                 Florida,        and he reported
directly to Janet Lamb . Complainant,                                    H.T. ,       pp .    392 ,     396 ;
Lamb        H. T .,        D .    900 .    The      Complainant          test ified t hat              Lamb
told         her       two       sexual        harassment          complaints           were         lodged
against Saiffee during the timeframe of December of 2004,
to      January            2005 ,     and      that       she     [Lamb)    and        'I'odd       Davison
informally "counseledu him .                               Complainant ,          H.T .,        pp.    391 ,
445- 446 ; ROI , Ex. Fl , p. 17.
          Clay          Saucier           testified         that        there     was         a      sexual
harassment compl aint made against Shabbar Saif fee and that
he participated in the meeting with an EEO investigator.
Saucier , H. T., pp . 723-724 .
          The Complainant explained that women were intimidated
by      Shabbar            Saiffee ' s         behavior          because         he    made         sexual
references              and       released          females       who    did     not         flirt     with
him.       Complainant,              H. T. ,     pp .     447-448,       45 1.    The r eferences

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were made enough that staff commented that Saiffee was a
"breast man."         Complainant, pp. 454-455.
        Janet       Lamb      testified             that          Madeleine             Williams
initially complained to her about what she considered to
be     unfair    treatment        by     Shabbar            Saiffee,        which       did     no t
involve      sexual        harassment.             Lamb        testified               she     told
Williams to go back to Saiffee to try to resolve things.
Lamb,     H. T.,      pages       900-901.          The       evidence            shows        that
Wi lliams       was    not        satisfied         with          th i s        response        and
subsequently went            to    the    Equal         Rights        Off ice.         Lamb was
made     aware     that    Williams       complained               to      an    EEO     Officer
about Saiffee sexually harassing her. Lamb, H.T., pp. 901-
902.    Lamb testified that she then learned that Williams
alleged      that     Saiffee       stared         at       her    chest         whenever        he
talked to her.            Lamb, H.T.,         p.    902 .
                                      I do not find Lamb's
                                       -- -·-.. ··--· - - - ..---. - -·--'
testimony credible that when Williams went to her to share
concerns she had about Saiff ee that she did not mention
all of her concerns.
        Subsequently,         another           female             lodged          a         verbal
complaint against Shabbar Sa i f fee for                           sexual harassment.
Janet Lamb testif i ed this lady told her that she feared
Saiffee would not give her proper credit for the work she
was doing.          Lamb referred her back to Saiffee to see if
they could resolve            things      a mongst themselves before                            she
would become involve d.             Lamb, pp. 903 , 1011 , 1014.
       The evidence shows that Janet Lamb, Todd Davison, a nd
an   Equal      Right s    Official           had       a    meet ing           with     Shabbar
Saiffee a nd Madele ine Wil liams rega rding sexual harassment
allegations made against him . Shabbar Saiff ee was allowed
to respond to the all egat ions before a decision wa s ma d e

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on how               to       deal         with               the                situation.                                  Lamb       testified         that
Madeleine                    Williams                     was                   "very                    uncomfortable                             with    him
looking at her chest when he was talking to her." Lamb,
pp.         1009-1010.                  Although Saiffee                                                init ially denied looking
at      Williams' chest, later during the above conversation he
said he "would not do it again."                                                                          Lamb, H.T., p.                           902.   L_a~

opined that it had occurred because of Saiff ee' s                                                                                                    "ethnic
---·-··
                                                  ·-·-·   -·· ·-..- -· -·   ···- --··· ·· -·~- -···   ------------ ---------- ------------
 background_~-~'-                  Lamb,              H. T.,                       p.           1009.                        She        testified         that
----- --·-   --

mostly Davison "counseled" Saiffee by tel ling him that we
would not tolerate that kind of activity. Lamb,                                                                                                    H.T., pp.
901-902.                Lamb          was         the                 other manager                                           present         during       the
meeting               and          she          was              in             Saiffee's                               chain-of-command.                   As
such,            I     find           she        was                part                 of           this                   informal             counseling
process. Williams' desk was then moved away from Saiffee's
line of sight and she was assigned to a new direct line
supervisor and Saiffee became her second line supervisor.
Lamb,          H. T . ,         pp.        9 0 2,          1015-101 7 .                                    Lamb concluded that the
above resulted in a successful resolution because Williams
had no more complaints.                                                       However,                         the evidence of record
showed that Williams was l et go two to three weeks l ater
for lack of work.                               Lamb , H.T., p. 902 .

             In       contrast,                  the __~_?mp~-~~?.~~~--- ~-~~--- ~.?.~____Pr?_~~?e~ w~"t.:£1
the same opportunity to defend h e rself.                                                                                          The investigation
---··---·-·····-----··-- ..... - --·····--- -    --·-·--~----~- -·- ..                        ········ -·"'-··---   -   ..
pertained                    to         her               "possible                                   abuse                       of    position           and
inappropriate                        behavior."                                ROI,                Ex.                  Fl7,           pp.        1-24.    The
investigation focused                                         on her management styl e,                                                            such as,
whether                she          micromanaged                                    people ,                            led            by    fear ,       gave
misleading directions,                                           engaged in character assassination
and/or               preferential                     treatment .                                 ROI ,                      p.    1.       The     evidence
showed               that        the            accusations                               made                      against             her        were   not

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   fu l ly explained to her ,                                                             wh ich placed her in the position
  of               being               unable                    to               fully               respond                to                    the                   allegations.
  Although t he investigator interviewed the Comp lainant and
  drafted a statement for her to sign ,                                                                                       the Complainant felt
  that                         the            drafted                             statement                    was                      not                        an           accurate
  representation of what she had said during her interview.
  Neverthe less ,                                     the              investigato.r:____~ubmitted                                                             it         under                  the
  Complainant's                                   name                 with               her Administrative                                                      Investigation
 ... -··· - ·· -   ··-·   -·· - - ·-·- ··--   -·~--    --·-· ---·                                     ---··- ------------ - --------·--·
  (hereinaf~-
·---- ··---·· ....
                          ~-:----- ~'R~oE_!_~~-~----~~-~?r_~·-·--. --~0,.e_____ _c;_~r.r:2.~-~~-na_::i_~------~.?.11-.~5=!--
 clarify
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                     _____Qr______ S_l1..Qmi
                                          ·--·t ---· ..her            own
                                                       --- ···- ··· -· . ..... .
                                                                                 written statement .
                                                                                         _____,., __ ......-........ ____ __
                                                                                                                             The
  Complainant was then released for cause in the presence of
                                                      '-----   -. -   - ······-   . -- - - - ·· -·--- ·· ··-----··- - ---·-- -- .. ·--- -                                                  ...
                                                                                                                                                                              -~· --·-_. _ ,_...   ..   __
  armed guards. After her release,                                                                            Janet Lamb held meetings
·--u- ·- - ••·-•• __..
  to               announce                      to             staff                     members              and                  managers                                  that               the
 Complainant had been under investigation and was released .
  ROI, Ex . F2 , p. 159 ; Lamb , H.T. , p. 963 .
                     Janet               Lamb                  also               memorialized               on the Comp]-ainant ' s
                                                                              . -··---·-   -   -··.   -- ------ - - - - · ---·------- ---
 most recent performance appraisal that she "was                                                                                                                               released
                                                                                  -
                                                                   --·---- ------- -- -·-- - ---··-                  ---·--
                                                                                                            ·-·--·- -----
  from            this         disaster     pending       the        outcome                            of          an
~----···        ._.______. -- ·--------
                           .            --- - ----------------- --· _..........- ..... -····---·--·······-···---- .. ........
                                                                         •"
                                                                                                                                                                                                             ··-...~




 admin istrative i nvestigation . "                   ROI, F2, p . 7 5. Despite
------·-····---·- --- ------· ···--
 having                        written                 these                      words~-tamb                        contended                                           in     her              EEO

 Affidavit                            that              the                Complainant                        received                                    a          satisfactory
 performance appraisa l upon her release.                                                                                                      ROI, F3 , p . 6.
                     Based               upon                  the                above ,              the         allegations                                            of         sexual
 harassmen t                              were ,                      at              a        minimum,                   as                       serious                       as              the
 allegations made against the Complainant pertaining to her
 management                              style                  and               alleged                preferential                                             treatment.                            I
 reject the Agency's argument                                                                         that Shabbar Saiffee does not
                                                                                                        •. ·-- .   . . ......,..   -· .... .   -   - . ···········-· .
 fit                 the             legal                 criteria                            to       be         a               similarly                                   situated
 individua l to the Complainant_ I                                                                          f i nd that Saiffe e had the
 same supervisor (Janet Lamb) as the Complainant during the
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  same relevant timeframe, was performing as a Branch Chief
  like the Complainant,                                                and engaged in conduct similar to
  the       Complainant ' s                        alleged conduct                                                                     without                distinguishing
  or mitigating circumstances .
             Based upon the above and as wi l l be discussed in more
  detail below,               I find that the Complainant has established
                            .,___ _ _ _ • ..... ~•· · -•••-·••·-•••-.__ .......~••·••••-----·· · "• ···"-"''••   -   -   ...w- -   - • • • -'~--·-~·--• · -   - - - - - --   -··-   v--·- •• •• -·••• ••-•••••-""""
  that        Shabbar        Saiffee                                 was                   similarly                                       situated                          to          her .              I
 _ ____ _    _.,______       - - -- ---~       __ _............. -... -             -----~----           •• ••-•---···------···-······- ........ _,,___·--·····-••••••A -
  further          find that                       she established a                                                                      circumstantial prima
  f acie case of disparate treatment based on race                                                                                                                              (African-
  American) and sex (female).                                                                                                                                                                                   ....-----· .. /

                                                                                             Pretext


            The establishment of a prima facie case is                                                                                                                              not the
equivalent of a                    finding of discrimination.                                                                                                  It is simply
proof         of         actions                    taken                            by                 the                        employer                         from                   which

-discriminatory
  ·-                         animus may be inferred because experience
                                           - ------- -----------·- --- - -- -- ------.
has proven that in the absence of any other explanation it
                                                                 --------·~-----------·-------~---~-                                                                                                            .... . .
is more likely than not that those actions were bottomed
------------------ - - ----- - - - - --- - -
on impermissible considerations. Furnco Construction Corp.
~,
 -- ---



v.    Waters,            438 U.S.                       567                  ( 1978).                                      Thus,                 the burden would
shift to the Agency to produce admissible evidence that
its         actions           were                            taken                               for                              a         legitimate ,                                     non-
discriminatory               reason.                                See                  Reeves                                v.          Sanderson                          Plumbing
Prods.,         Inc. ,      120                  Sect .                         2097 ,                           2106                     (2000);                    St.              Mary's
Honor        Center v.              Hicks,                             509 US                              502,                        113 S.Ct.                         2742,                   125
L.Ed . 2d 407             (1993);                     Texas                         Dept.                            of Community Affairs                                                           v.
Burdine,           450 U.S .                248,                     253 -254                                (1981);                           McDonnel l                           Douglas
v. Green,           411 U.S. 7 92,                                    8 02                 ( 197 3) . This burden i s one o f
production,               not             persuasion ,                                                  and                        it           can               involve                           no



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       credibility assessment.                             See Reeves,                          120        S . Ct.        at      2106;
       St. Mary's Honor Center , 509 U.S. at 5 09.
                A     complainant                may             then               show            that           the           reason
       articulated               by       an      a gency
                                                       is                                a      mere             pretext             for
      d ls criml nat i o.n
                                                   _
                                                 ---··- __ ...
                                  --;-r- "unwo rthy of                            belief .            See        Reeves ,            120
       S.Ct. at 21 06; St. Mary's Honor Ce nter v. Hi c ks ,                                                              509 U. S.
       at 507-508              (1993);         Burdine ,              450           U. S .      at 256;                 McDonnell
       Douglas ,           411        U. S .     at        804.                  The          u l tima te              burden          of
       persuading the tri e r of f act that the Agency discriminated
       against        a        complainant              remains                     at       a ll         times         with         t he
       complainant.              See Reeves,                 120 S.Ct . at 2106 ;                                      St . Mary's
       Honor Center v . Hi cks, 509 U;S. at 507.
               The Agency articulated that i t had a legitima te , non-
       discriminatory                 reason       for           investigating                            t he     Complainant
       and re leasing her from her position . It explained that the
       Complainant 's performance as a manager was deficient , did
       not meet the Agency's expectations ,                                                   and resulted in two
       employees filing formal complaints agai nst h er . The Agency
       further        articulated               t hat        the               i nvest i gation                  l ed       to       t he
       Complainant's             release.             The            Agency                  contende d            that          Janet
       Lamb was not involved with initiating the inves tigation or
       wit h the Complainant ' s ultimate release . It contended that
       Saiffee .saiffee                  was     not             a       proper               compa rator                 for       the
       Complainant and as s uch ,                          the Comp lainant co uld not show
       tha t    her        treatment            was        due                 to      a ny       of        he r        protected
                       4
       categories          •


               The Complainant pre sented credible evidence s he was
               ---·-·---~ -- --··-·------·----·-~--·--               .......   ···~---··--·····---·-··-   --· - ---·   ---·~--   -..... ---

4 Al thoug h t hi s contention has b e en addre sse d e arlier in this Deci sion ' s secti o n
pertaining to Prima E'acie Disparat e Treatment Case on th e Bases of Gender and
Race , it wil l be fu r ther addressed i n this secti on p erta ining to Pretext .
I n f ormation on this topic in each section hereby incor porat es the i n f ormation
f r om the other section .
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treated less favorably than Shabbar Saiffee and that if it
---·-------·----~-· --~ -------·---- -------·~-----·------- --·------.

were not for this differential in treatment she would not
                  - -- --- - ----- - .                         -· ----~-----       -------··-·---·----..
have been
- ·- -·-·   ---
.Ja_n.~_t_L_amb
                      inves t igated in the first place. I find that
                          . ---- -·------ .. --- ..--- ---·--··------··· ---·-
                             -- _ ..,____
                       was respons.:ble       ~       for ensuring that complaint s        _ __________               ,,.


about the Complainant be reduced to writing. Although Lamb
                                          --------------
was         not    the    Complainant's            supervisor             at      the      time,       she
instructed Wayne Box to document complaints made against
the         Complainant        and    provide            them       to     the      Complainant ' s
supervisor.            Lamb,    H.T.,    pp.           862 - 863;     953;       ROI ,     F3 , p.      5,
Wayne Box followed her instructions and by April 2005, he
had been networking with Cindy Bourgeois, informing her of
personnel             issues    that     were           described           as      "escalating.u
Commission Ex .            4   (Memorandum for the Record,                              dated April
13 ,        2005) .      Sandra      Flowers,            one     of       the       Complainant ' s
employees,            also communicated with Bourgeois regarding her
dissatisfaction with the Complainant.                                    ROI,     Cormnission Ex .
4. When Lamb returned on April 18 , 2005, she resumed being
the     Complainant's             supervisor             and    within          her      first      week
back on April 22,               2005, Lamb instructed Sandra Flowers to

---
put her concerns about the Comela_inant in writing.
H.T. , p. 951 ; ROI, Tab F-3, p . 5.
                                                                                                  Lamb,



       --·--------
       There was no credible evidence that Sandra Flowers or
Lul etha Cheatham had first approached the Complainant with
                               ----·--·----- -.
                                                                                 ---·----- ..--.- ---- ··-·---

__________
their ,_concerns
        ....
                                                         ------·----""·-----------·-·--·--·-- -- --~--· ·- ,


                 . Cindy Bourgeois and Kathy Johnston informed
                                                                                                                 ..


Clay Saucier , who was the Complainant's supervisor at that
time,        about the complaints pertaining to the Complainant ' s
management            style    and    said they              wanted        to      l ook     into      i t.
Saucier, H.T., pp . 711-712 .
       Clay Saucier was aware that many of the Compla i nant ' s
staff         were    relatively        new       emp l oyees ,          which        could       impact

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~   - .. - -   ~   - - . - . ,-
                           ~                                             ._......,     ...   ...   .........        - ·             I    .......   .        ""'"''O"-' '                                                                                                                                                                                     ,- . -   ~




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                   upon a manager's management "style . "                                                                                                                                                                          ROI / Ex. Fl 1, p. 7 .
                   The            evidence                                         indicated                                                    that                             Saucier                                            d i sagreed                                                 with                       t he
                                                                                                                                                                              ...._____............_.------~----~·----..--~----·--

                   agenda                       of                    Bourge ois                                                and                        Johnston                                                to                      look                           into                         matters
               --------- ---·---- - --·                                                                                                            -                   - -- ---       ---...··---- -·----·- ·-------                                                                                                                    .......
                because                                 he                felt                             that                            the                         Complainant should first b e
               ----·- - - - ---- ----- ---·-                                                                                                                                  ·- --·-- ----------··- -- --- .
                brought                            into                         the
               ------~- ·-----------·-- -, - -------·- · - - -- -~- - - ·- -------~ ---· - · ---
                                                                                                          discussion                                                        and                       g i .........
                                                                                                                                                                                                             ven  - __ an          .._.._______
                                                                                                                                                                                                                                             opportunity
                                                                                                                                                                                                                                                   ___                     ~           __.,......_,     ~- --- -- - - ~
                                                                                                                                                                                                                                                                                                                              to
               ~add_r:~~?__ ~Q_~---~_mpl_o_y:_e_E;;_s_'_g_o~r.i.s .                                                                                                                                    Saucier,                                          H. T.,                                 pp.                   71 2 -
                   713.
                                   Clay                      Saucier                                           decided                                      to                   deal                            wi t h                           the                     s i tuation                                        by
                   having an informal counseling session with the Complainant
                   regarding                                          her                    management                                                        style                                 and                       the                     need                               for                  clear
                   directives.                                                    Saucier ,                                                     H. T . ,                                   p.                        713.                              He                          f ound                                  the
                   Complainant                                              to                     be                 receptive                                                  to                  h is                      discussion                                                       with                       he r
                   about how she could better work with her staff .                                                                                                                                                                                                                                     I             find
                   that                    the Complainant                                                                              was                    taking steps                                                                       to           address                                         staff
                                                                      --••••-          -----~- ---------~------                                                                        - - ··--··..          ·--· --- · ·--·~·H--·-                                 ..    -----·----·--~·- · ·-~··•••                      ••---   -·-· -~


                   concerns .                                         Saucier                                         testified                                                  that                             she                      held                             meetings                                         to
                   provide her staff with a forum for discussing their issue s
                                                                                                               ------·-..- ··-·--·---....          -···---~ -~-                 .. ·······- .. -·--·-·-····--'---·-···-- ·--··- ,. ··- ·-·-·---~"••· ··--·---······-- --..··-                                         ··--·--·-----

                   so          the y                     could                                be                    resolved.                                                Saucier,                                               H.T.,                                pp .                         714-7 1 5;
                   ROI, Ex. Fll, p . 4.
                                       The                 Complainant                                                           had                       set                        up                  a             process                         wh e r --e·-· ..•.-p eop    le
                                                                                                                               - ·- ··-·- - - · -·-··-·                                                                  .. _ ... ....... .... ······-··-···--··
                                                                                                                                                                                     - ·····- ·"·- ""' ··~'" - -- ,,.•. - ·· ··-     .... ._ .,                               .. ·-
                                                                                                                                                                                                                                                                                  '.   ·····-            " .   ....   ..       ... --···- ;


                      o uld _....:r:-a..LE> ~- - -~- _<;_::QI}_s::ern anonymou
                   c- -··-··-··. .. ....     ..     .                   .-
                                                                               s ly·- a nd have -· . .....
                                                                                              .
                                                                                                     i t ······· address
                                                                                                      .           ..... .. ...   e d.
                                                                                                                               ·-·
                                                                                                               · ··-· ····-·-···· ··-··---···          ...... .... .. ... . .... ,             .        .....         ·· ··· ··- ......... ......


                   Saucier,                                  H.T.,                                  p.                     715.                            While                                   the                        Comp lainant                                                             invi ted
                                                                                                                                                                              ............ ... , _         ....... ...... ·-·-..·---.......... -· . -··         -                                             ..
                                                                                                                                                                                                                                                                                  . ... . ............ . -······                   "'



                   Saucie
                -·---
                    - --·-···· . -··
                                     r,                   Bourgeois,
                                                · ·-· ~ --·---------··· ·-'· · · ---
                                                                                         and <:1"~ bn:?.:ton
                                                               .. ...·-· --·- - ·-··-·- ----·- · -··-···.
                                                                                                                             to attend,
                                                                                                          ...... ..- ......_...... ,.......................                                                                                --~- ·-·· · --- - ·· -   ...
                                                                                                                                                                                                                                                                      ~
                                                                                                                                                                                                                                                                         o nly
                                                                                                                                                                                                                                                                            ..... .
                                                                                                                                                                                                                                                                           . ..    ;
                                                                                                                                                                                                                                                                                                       ~ a.uc;i.er

                   took . -the          opportuni t---·-·--··-
                             ......... .._ _
                                                        y ---to        do so. Complaina n t , H.T., pp. 6 73-
                                                               -- -----· --· -·- ··,,···-
                                                             . ....


                   674;                    ROI,                  Fll,                         p.                  4.                    At lea st o ne sta f f                                                                                          membe r                                       did n ot
                   want                    to           partic ipa t e                                                       out                   of                     fear                            of                 how                    the                           Compla inant
                   might react .                                                  Sa u c i e r, H.T. , p. 717.
                                      Be fore the Compl a i na nt could f ul l y pursue address ing                                                                                                                                                                                                                                               ,_
                                                                                                                                                                                                                                                                                                                                                       '-,

                   s t aff conce rns,                                                              Kathy J oh nston inf ormed h er tha t                                                                                                                                                              she was                                     -·- ·
                   b e ing                  investiga ted                                                             for                   misuse                                        of                    superv i sory                                                      a uth or i ty .
                   Complai n a n t , H.T., p . 685. The subsequ e nt Re p o rt indi cat ed

                                                                                                                                                         18
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     that                    the                       investigation                                    was               initiated                                  because                of              the
                                                       - ----·- --·-··- -.--·-- ··-·                                 - ~------   ----· ·-· - ----·   _,   ___ _

 -complaint               received from Sandra Flowers,
    ......-·----.------··---- ------...______
                                            _--·---···--···-···-..-· .... -·--· .-..    dated April 1 3 ,
                                                                                             ....-...---··-···- . ····--·-"··--        -····-----·-------·----~




 -
     2005
      ···-····-...
                   ,         and a
                                                                        _____.__,   _______
                                                            complaint from Luletha Cheatham received on
                                                                                                    ......   -----·-··--·-- - -----------~......-··~- ····--···-.




  April 23 ,                                       2005. Johnston explained that the i nvestigation
- -···-~---------~----·---~·~--


     " targeted                                        [Compl ainant 's]                                       supervisory                            skills .n                      ROI,                   Ex.
     F4,               p           6.                  An        attached                       Memorandum,                                however ,                     showed                            that
 Wayne Box had been ne twor king with Cindy Bourgeois since
                 ... ----·--·- -·~-- ---·~-~---    --··- --·--·····---- ···----···.   --------···---·- -...- ··---···· -------- ··--·-··------ --- ··-·--- -----.
 at l east
       . --
r----·---
            April
              .
                   13,
                  ..          _________                                 ~--- -~----
                                                                                       2005 ,                to discuss escal ating pe rsonnel
  issues. Commi ss i on Ex. 4 (Memorandum for the Record, dated
 April 13, 2005) .
                         I       fi nd that even although the Compla i nant had begun
                   ...!..-:;:::::::.;::;:--..-".'."=
 the process to address these concerns and he r supervisor,
 Clay                        Sau cie r,                                 thought                  she                 was             doing                       a     good             job                 of
 addressing the employees '                                                                            issues, that the admini st rative
 investigation                                                      derailed                      this                   process.                               By     April                    2005,
. -·------~-------~--~~·-:---::::::·:.=.:~--~--==:~..::.---·------·-~-·-· ~----···-··-··-·--...
 Johnston                                     had               begun                   conducting                               interviews,                            which                   would
 ul timatel y include approximately ten of the Comp lainant' s
 e mployees .                                           Corrunission                          Ex.                 4.         App rox i mately                             one  month-
                                                                                                                                                                          ----------
 later ,                                on                  May                24,              2005 ,                      Johns ton                                completed                             the
-- --- -------------~-------- -~··-·--···-·~--·----~ ·-·---·~~~------- ·------------· ---~~----- ..,



 administrative                                                         investigation                                    and             the                    Complainant                                was
 rel~~?es                                  from her posit i on as a Branch Ch ief b y May 27 ,
---                                 - · - - - - -----------·------···-··-··------··-···-··-·--·-·- - - - · ··------·---··-····-- ·--
 2005 .
_ _ . J_            __
                               Commission Ex. 4.
                       Althoug h                                    FEMA                  also                     had               an          -Alternate
                                                                                                                                                    ··- -···-------
                                                                                                                                                           .•   ..
                                                                                                                                                                                           Dispute
                                                                                                                                                                                              -----· ·-·..
                                                                                                                                                                         ...........~--~- --·--- .. ----

Resolution (ADR)                                                         program availab l e for employees to use as
--·-·--"----- ..                                                ~

 an            option                                  for          r esolving                        disputes,                           it          was              not        uti l ized.
 ROI , Ex . Al; ROI , F2, p . 180 .
                       The Agency contends that Shabbar Saiffee was treat e d
                                                                                                                        ----..··---- ··- ---·-·....--·--------·----····---·-·-··--·-·                             ...
                                                                                                                                                                                                                 .-

 differently                                              because                         no             forma l                     complaints                          were                      filed
 ----· ~---· ·· ·-··- ··><-·--- ------ -·· ·-··- ··--


 against                                  him.                      I          reject                         this                contention.                            First,                            the
                                                                 .===-_=:.:::::=.=::=::::=:-..==:._--::::::-__;:::::-....:=::::::=:::.:::.:::::-_::_::--=::-.:: ;-
Complainant testified that                                                                                      Janet Lamb                           told her                       t ha t                 two

                                                                                                        19
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 sexua l     harassment compl a i nts were lodged · aga i nst Shabbar
Saiffee. Complainant , H.T., pp . 391 , 445-446; ROI , Ex . Fl,
p.    17 .    Assuming       arguendo      that     the      complaints            against
Shabbar Sa if fee were not made in writ ing ,                          this does not
explain the d ifference in treatment because it was Janet

--
Lamb that ensured complaints against t h e Complainant be
             ----          -              ----
documented and placed in writing when she instructed Wayne
                                                                            -----------~-


--··-·---·---- ----- - --·- - -·- - - -·--·· . .                                   ...----·--~
Box and Sandra _F.l o.w.e.r.s_J:o do so .                    I     find       that      Lamb
------------·       -                        ..- --
                                        ---- ~                   - - - -- - -·--·--- -
i ns tructed        Box   ~---=.ngage      in    this       activity          after        the
Complainant had alrea<:!Y voiced _E_er concerns to Lamb about
__..___                     ~                     ·- - -                            ·-------.
her belief that            Lamb t reated non-white staff differently ,
had used the word darkie ,              was undermining her authority ,
and that if things did not change she {Complainant] would
fi l e an EEO complaint against her.
       I     further find Janet Lamb's ins tructions to Wayne Box
                                                                   - - -·-- -..-·--- ·--·..-·-··
-              --
..occurred bef_or:_~.
             ----··- ···· -·
                             the administrative investigation began
 when Lamb was not his supervisor and that he had been
,networki n g    with      Cindy   Bourgeois        about         personnel          issues
. tha!__~~--fildp_posedly          "esfalating. °            Commission             Ex .      4
 (Memorandum for the Record ,              dated April 13 ,              2005 ) . Given
Lamb' s      instructions       and     Box's      act ivi ties ,          it      is      not
surpris i ng that by April 2005 , two of Compl ainant ' s staff
members placed their complaints                   in writing.            In contrast,
when emp l oyees came to Lamb with concerns about                                 Shabbar
Saiffee , Lamb refe rred the employees back to Saiff ee .
              ------·     ------··--- ..-----·· ----·-··..---------··-
      Cindy Bourgeois stated in her EEO affi davi t that Ja net
Lamb requested her as sistance i n address ing the concerns o f
the   Complainant 's         employees.          ROI ,     Ex .    FS,     p.     3.     Even
though there was no evide nce at this time that either of
the   t wo     complaints      against      the     Complainant             raised         any

                                      20
...icin   cu   1c     u1; u;:ip                     :;:)~1v1ci                c .    rcirr1n ~~on                        lOCOJ    £::;:)1 - occc          f' •   C"t


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                  discrimination conce rns,                                                  J anet Lamb suggested that an EEO
                 officer become involved. Lamb , H.T. , pp . 863-864; ROI , Ex .
                  F3, p. 7 .
                            I        find                     that                  even           before           the         administrative
                                                                                              ------ - -----    - - --- --- - ------
               investigation began , it was a foregone conclusion what the
               ------------------~--·----------~---~--·-~·--.. -----~---~---


               results should be. This is evident by a statement in Janet
               Lamb ' s           EEO affidavit.                                     Lamb          stated that             Cindy       Bourgeois 5
               and Kathy                     Johnston 6 advised her                                       that       " an       administrative
               investigation was warranted based on documented incidents
               of a hostile work environment that her staff was subjected
               to."             ROI,           Ex .            F3,            p.     7,       question and answer 21 . At the
               time             this          statement                             was       made ,     however,              the    compla i nts
               r eceived were from Sandra Fl owers and Lul etha Cheatham and
               their             complaints                             i n stead              focused         on        the     Complainant's
               managerial
               :·-  ··--·· ·:-=::::::---
                                               styl e.
                                           · -- -~-~ - -- ·· · -. •
                                                                          Although                 Cheatham         mentio ned         t hat        the
               Complainant                           discriminated,                                a     review           of         her     actua l
               complaint                    discloses                             that         she      h ad    been           told    by      Cindy
               Bourgeois                   that                 to            hold           one       group        of     employees           to     a
               different standard from another group was discrimination ,
               but         Bourgeois                         did                  not        exp l ain     to       Cheatham           tha t        the
               different ial treatment had to be based upon a protected
               category. Commission Ex . 4 . Without an understanding about
               "prot ected                        categories ,"                               Cheatham          then            claimed           that
               Complainant                        was             discriminating                        against           her     "leads"           (an
               unprotected                         category)                            by      r equiring           them        to        work     on
               Saturdays                   to        supervise                          their staff .           Bourgeoi s            used this
               information to claim there was a hostile work environment .
               This was             ~isingenuous .
                                    L..: ·· - -   ·•.:=:=:.:;::.=-::::::.:::::_

     5 Janet Lamb ide ntified her by t he title of h e r position .
     6 See footnote 5 .

                                                                                              21
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                   Based upon the above ,                       I    fi nd that Janet Lamb had a
          significant involve ment
          --                          ----
               ... - -···· .. -· ·-· -·-·---·-- ----..
          ~.2:.._in~ga ted in some
                                                         in ensuring that t h e
                                                         mann~.        Although Libby Turner, the
                                                                                                   Complain~~~---



          Deput y Coordina    tor , testified that Lamb wa-s reluctant
                       :._____:_:____:_~-~~-----·--------
                                                                       for ..
                                                             ··-----------
          the      investigation              to      go    f o r ward 7 ,     I      do    n ot    find     t h is
          testimony credib l e .                   Turner,          H. T.,    p.    776.     This would be
     '--
          cont rary to the_o_tber actions that Lamb had already taken .
          Lamb put t hings in place to e nsure tha t any complaints be
      placed in writing against t h e Complainant,                                           as opposed to
      firs t encouraging t h e e mployee to provide their supervisor '>
      wi th a n opportunity to resolve their concerns , l ike she
                                                                     "--- ..

      did         with      Shabbar          Saiff ee .         Lamb       t hen    recommended an            EEO ,,.
      Officer become involved with the Complainant ' s s i t uation.
                   In addition ,            when Libby Turner testi fied s he stated
      tha t        Ci ndy Bourgeois ,                Ka t hy Johnston ,             and Janet Lamb h ad
      inf ormed            her       that      two       employees           had    compla ine d.          Turner
     testified that becau se she was relatively new at FEMA                                                   she
     asked           them what was                 the normal              procedure to            follow,     at
     whi c h         time
     Turner , H. T., p. 774.
                                    ----
                                " they"       said a n          administrative              investigation .


                  However ,          the      record        d i scloses            that     administrat i ve
   J:nve s.!.i g.at.i.o_o_p were not the normal procedu re . Todd Davison
    had been with F.EMA sin ce 1996 and he had n e ver heard of
                                                                ------ --·- - - - - -----
    anyon e being sub j ected t o an administrative investigati on
    until i t happened t o the                           Compl ainant .
                                                                                        -· ---·------
                                                                        RO I , Ex. F7 , p . 7 .
    Ernest             Hunter         also      had      n ot       been     awa re    of    anyone        being
    ...
      -.r·--- ------·----,.--~";/



    investigated                    in     this     manner .         ROI,      Ex .    FB,     p.     7.    Clay

       7 Janet Lamb a l legedly displayed her r e luctance in t h e meeting wi th
Ka thy Johnson, Cindy Bourgeois, Libby Turner, and senior mana gers Gi nger
Edwards a nd John Crowley whe re di scuss ion s we re held ove r whe ther to
conduc t a n inve stigat i on. ROI , Ex. F3, p . 3 .
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Saucier        was    similarly          unaware.           Saucier,           H.T .,      p.     72 6 .
Turner        had    not    been    aware           of     any policy             pert aini ng       to
administrative              investigat ions .              Turner ,           H . T.,      p.     792.
Neither had the Complainant and when she contacted Pauline
- -- ------                                    -----·-·-·- -·---·------------·----·-------·-
Campbe 11       to     tr_y____t.o--1.e.a_r.n. ___ JTI~,          she         was       told      that
                                                            - - - - - - - - - - -·--------._....
-
adm~trati,ve            iny~s~ig.ati~ns_a.r._e_f9r                    situa~ions         like when
                                                                                            -----··----
-
an emplo_yee may have committed fraud.
page    314.        Although       John
                                           --·------- -
                                           Crowley           testified
                                                                        Complainant,
                                                                                    that    he
                                                                                                 H. T.,
                                                                                                   had
heard    of     administrative             investigat ions ,                 his       information
                                                                                - - --------.
source was Kathy Johnston.                         Crowley,        H.T.,        pp .     827 ,    836.
                                                                                                               /
                                                                                                           /
The undersigned Admi n i strative Judge ordered the Agency to
produce       any     regulation          or       policy        it     had       pertaining         to
administrative investigations,                           but the Agency represented
that no such documentation existed.                               H. T.,        pp.      751,     762-
764.
         Janet        Lamb      was        interviewed                 as         part      of      the
 investigation and the                   information              she    provided           included
 informing the investigator that                            she had hea r d               from Clay
 Saucier        on    April        18,     2005 ,          that       Sandra           Flowers      had
complaints .           She also said Flowers had also told her that
she     had     never        been     subjected             to        such      poor       treatment
be fo r e .     Commission          Ex.        4      (Statement             of     Janet         Lamb,
paragraph 6) .
        Janet Lamb attended a                       ten minute meeting with John
                                                              - - - - -- -
Crowley,            Libby    Turner,           and       Gracia         Szczech           when      the
decision was made to release the Complainant . ROI, Ex. F3 ,
p.     3 ; Complainant H.T. ,             p.        997.    Lamb t estified t hat when
this meet ing was he ld she was aware that t he                                         ~plainant


--
had     not    been provided with an
                               -----~ - -·-----·-··-
                                                           opportunity to                rebu t
                                                             . ---·----· · -----~--- -- ·-·
                                                                                                    the
                                                                                                       .
Report. ROI, Ex . F3, p . 9. Lamb testified that she was not

                                               23
...JCHI   LU   .LL   U.L.9   .L.Lf'"'                                                            lOLOJ        L..J.L -    OLLL



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                 involved with                       or     a    decision-maker             for       the      Complainant' s
                 release.                H.T.,        pp.       869-870,       939-940.         If Lamb's statement
                                                                                                ~--------·---·-·---·---.:.



                 that            she         was   not      involved 8         is    to    be crediteg ,                   it         wou l d
                 ·'--- - -
                 highlight                    that     Lamb        stood       by    in        the     meeting               and            did
                 nothing to                    stop       the     release,          even       though        she          was         fully
                 aware of how differently her other Brach Manager,                                                                 Sabbar
                 Saif fee,                   had been treated .                Had Lamb truly                 acted as                      the
                 Complainant's advocate as the Agency contended,                                                          she would
                 have            informed            t he       other managers             about       the         differential
                 way in which t h e                         Complainant was being treated vis-a-vi s
                 Shabbar Saiffee.
                         In an inconsistent
                 that she "concur red" with the release decision.
                                                                       staternen~,
                                                                                          --
                                                                                          Janet Lamb also stated
                                                                                                                           ROI,             Ex.
                 F3,         p.         8.
                                              --
                                              J ohn Crowley testified that he
                 Report with Lamb at the meeting and that "we" all decided. ·-
                 Crowleyr H.T., pp.                         811, 813; ROI, Ex. F9, p. 11. Lamb in a
                                                                                                             discussed the
                                                                                                                                                                 ~

                                                                                                                                                                 /
                 statement not worthy of belie f,                                    testified that she never >
                 even received a copy of the Report.                                           Lamb,        H. T . ,       pp .          939-       . /-
                                                                                                                                                           .>
                 940 .
                                  find not only was Janet Lamb involved early on with
                             I
                                                                       --                            -------··~·-------·----·~-                            ...
                 the         documentation                  of     the    Complainant                (initially               through
                                                                                                             ··-    -·-    ·- ··- ·-·- - ·-··..··--..·--·-
                 her u_s_e_ _o_f__~a y~~--_.Box)
                ,_____                                                        and    the        initiation                   of            the
                 investigation,                       but        she     was    also       a     decision-maker                            who
                 implemented                    her       release 9 •         The    Agency           argues              that             any
                -~-----



     8     Kathy Johnston also attempted to distance he r s elf from any involvement .
     Although it was her Report that recommended the Complainant be released f r om he r
     position and terminated from any othe r employment with FEMA, she n eve r t h e less
     stat e d i n he r EEO affidavit that she had no involvement i n the Complainant's
     rele ase . Commission Ex. 4; ROI , Ex. F4, p 2 .
     9    Janet Lamb was the person t ha t informed th e Compl ain an t t o r e turn imme di a t e ly
     to Orlando for a meeting. This was the meeting where the Complainant wa s
     r eleas e d f rom her position .
         It is also notewo r thy t hat the Agency had a progression of discipl i ne policy
     in the Spring 2005.          Sauci e r , !LT ., p. 7 42. The progr ession under mo s t
                                                                         24
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        differential treatment between the Complainant and Shabbar
        Saif fee can be attributed to different managers making the
        decisions.            However ,       I        find     that        the      Complainant          has
        established that this explanation is not worthy of belief.
                                                                ·----------·--------·--··-··-----·····----.. --··-·-
        I    find that Lamb discussed the Report and was a decision-
        maker for the Complainant's release.
                  Janet       Lamb    was     also        the       person       that     provided        the
        Complainant with her last evaluation and memorialized on
        it        that        the     Complainant               was        the      subject        of      an
        investigation. Had Lamb been against the investigation and
        release,         I   do not believe she would have written what she
        did on the evaluation. As a federal employee who had been
        inv.21.Y..ed with hir.in.g.,              I    f .i .n d-thaL.L.ar.nb wa s        aware of _ the
        negative         impact       this     memorialization                   would    have     on     the
                                                                                                      · ~---.:




        Complainant's               ability       to     obtain           future     employment         with
       ·---------·                                                                                        ~-- -·-----

       ._S?.!t1er_ t_e.Q§ral agencie$ .               When the        Complainant applied for
        other federal positions,                       the application process requi red
       her to submit her most recent performance appraisal with
       her job application.                   Complainant, H. T., p. 425.
              I    find that Janet Lamb was at the center of how the
       Complainant             was      treated ,             from        the       beginning        of      a
       documentation process                  which was               designed to elevate the                     >
       scrutiny          of    the     Complainant             to     a    heightened        level ,       to
       Lamb ' s suggestion that an EEO Officer become involved,                                            to
       Lamb's involvement in the administrative investigation, to
       her advocacy for the Complainant 's release,                                      to h er public
       announcement            to staff and managers                        tha t    the Complainan t             /i



circumstances woul d begin with verbal counseling,       fo llowed by a writt e n
warning, a nd continue with harsher discipline as needed.    This was not ut i lized
in t he Complainant's situation.

                                                        25
- - .. - - - -
         ~       ~   . - ,-
                      ~               -~   ......... _   -·     ' - · .... . ' b " " - ' '                                            ,- . --
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             was investigated and released, and to her corrunents on the
             Complainant's                 evaluation                    which           would       raise       questions       by
             any future potential emp loyer.
                     The manner               in which the release and " administrative
         investigation" conducted by Kathy Johnston for mis use                                                                 of
         supervisory                  authority                     is      also             troubling          for     severa l
         reasons .
                     First, as a l ready discussed,                                          this was not the n ormal
         procedure               to     use              in     a        situation              where      two        employees
         complain about a supervisor's managerial styl e.
                     Second ,         the          Complainant                     was        not    provided          with     an
         adequate               opport unit y                   to        review              and        respond       to      the
         statement that Kathy Johns ton drafted under Complainant ' s
         name.            The     Complainant                       was       not            provided      with        such     an
         opportunity                  even          though               there           were       no    allegations           of
         imminent               harm.           The           Complainant                     received          the    drafted
         statement on May 23 ,                                2005,        and she was concerned that it
         did     not          accurately                  reflect               what          she    had       said     in    h er
         i nterview.                Complainant,                     H.T.,           pp .     319-320;         ROI,    Ex.    Fl,
         p . 5. Three days later, Janet Lamb informed Comp l ainant to
         report for a meeting the next day.                                                   Complainant , H.T., pp .
         320-321 .              The    " next             day n          was          the      day       Complai nant         was
         released .
                 Kathy            Johnston                    had        disseminated                    the     Report       and
        recommended                 t hat          t he        Complainant                    be    released          from    her
        position              and      terminated                    from         any         employment         with       FEMA .
        ROI, Tab 17 , p. 17; Commission Ex . 4 . When Johnston issued
        her          Report,           one           of        t he         documents               she        attached       was
        "Statement of:                     [Complainant ],"                          which         was    drafted       in the
        first         person as               if the Complainant                               had written it .              ROI ,

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       Ex.     F18,    pp.     1-7;     Davison ,         H.T. ,   pp .    167-168.      Althoug h
       t his was presented as the Complainant 's statement,                                it wa s
       not .    Instead ,       it    was      the        statement       that    Johnston     had
       drafted        which the Complainant                  said was       not    an    accurate
       r epresentation of what she had said.                          When the Compl ai n ant
       t old Janet Lamb that she had n ot been able to re spond yet
       because she was on an out-of-town business trip , Lamb told
       her there was nothing she could do .                         Complainant, H.T ., p .
       365.     The Complainant was not abl e to submit her respons e
       unt il June 1 ,         2 005.    Agency Exh ibit 1.                By t hen,     she h ad
       already been released f rom her Branch Chi ef position, b ut
       she was still facing potential t ermin ation 10 •
               Third,     as    already        discussed,          the     meeting      regarding
       the Complainant 's release only lasted ten minutes and the
       Complainant had not been provide d with an opportunity t o
       present her own statement .
               Fourth ,      after       the         Complainant          was    told    of    her
       immediate re lease and to gather her belongings , while she
       gathered her items, armed guards were posted just down the
       hall outside of her work area 11 • Complainant, p. 366. John
       Crowl ey       corroborated          t ha t     armed       security       guards      were

 lO The Complai n a n t 's Cadre was g oing to d etermine whether she would be
 t erminated from any f u ture employment with FEMA. The Complainant' s own response
was still n ecess ary because the re we re differences between t h e Compl ain a nt ' s
res pon se and the one which Kathy Johnston s ubmitte d under her name.                    For
example, in Johnson's version t h e fo llowing words appeared :                 "Ms . Johnson
addressed each of the accusations [lodged against me] and gave exampl es where
appropriate ." Corruniss ion Ex . 4 . Th e Complaina nt , however, contended that it was
diffi cult to respond because she had not b een p rovided with a copy of the Report
and only p ort i on s of t he inves ti g ation we r e shared wi t h her verbally . Agency Ex .
1.
       When the Complainant submitted her response , Johnson r esponded to t h e
Complainant by telling her t hat the vers i on s h e had already sent was "the
essence of our discuss i on." ROI , Ex . Fl8 , p. 1 8 .
11 This type of s urveill ance is trou bling whe n v iewed in light of t h e mere
i n formal  counseling     t ha t Shabbar     Sa iffee    received    in  contrast    to  t he
Complai nant' s treatment .
                                                     27
      release , she was rep laced wit h a white male. Complainant ,
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      H.T ., Case
              p . 377.                                                       73

              Fifth , t he Report was forwarded to t he Complainant ' s
      Cadr e in Region 4 seeking that she be termina ted f r om a n y
      futu re e mplo yment opportunities with FEMA.
              As t he Mitigation Region Director f or Region 4 , Todd
      Davison was pri vy to t he contents of the Report.                                               Others
      t hat        saw        the     Report           included            Earnest           Hunter ,        the
      Mitigat ion             Cadre        Manager ,     a nd        Mary          Miller,     th e    Acting
      Regi o nal Director.                   H.T., p. 1 62 .
              Todd        Davison            questioned             the        objectivity            of     t he
      Repo r t ,     its       balance,           its    scope         and          findings ,        and    t he
      capacity and c a pabilities of t h e two newly hired empl oyees
      who     had        initially            complained             a bout         the     Complaina n t 12 .
      Davison ,          H. T .,      pp.      163 ,     166,         17 2 ,        20 9,    21 9- 221.       He
      explained            t hat       termination              is      usually             reserved         for
      s i tuations         where           unl awful    conduct            has       occurred         or    whe n
      employees have endangered t he personal safet y of ot h ers.
      Davison, H.T., pp. 172, 213 .                            He op ine d that the Report ' s
      recommenda tion               f or     termination             was       a    " treme ndous          leaprr
      fr om    what           was      justified.              He     acknowledged               that        the
      Compla inant mi ght improve in some areas ,                                      such as ,       t rying
      not to t ake on s o much work .                          Davison , H. T ., pp . 204-206.
      However ,          he     also         indicated         t hat       the        Complainant            was
      unnecessari ly                criticized          f or        o ther         things,       such        as ,
      c ha nging         directives           during         the      time          period      when        four
      hurricanes              hit     in      a    row .        Davison             said      that         these

12 Todd Davison had previou s ly observed these two employees in a work setting
a nd based upon h is observations , he had some concerns about t h em .
                                                        28




      " s uspe ct . u         ROI , Ex. FlO, pp . 1, 10 .
              Even        Kathy        Johns on ' s        supervi sor ,              Loui se      Russell,
      agreed that t e rminati on wa s n ot appropriate.                                      Davison, pp.
      214-215 .
              Todd Davison, Ernes t Hunter, George Earwood, and Mary
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       circumstances would result in c h anges h aving t o be made·
       Davison, H. T., p. 175 .
             One o f        the al l egations made against the Compla in ant
       was tha t      she was a micromanager .                           Earnest Hunter pointed
       out that d uring thi s particular p eriod the Complainant had
       "practically            new      staff ,"         indicating             a     need     for    more
       supervision tha n what season ed empl oyees would need.                                         RO I,
       Ex . F8 , p. 5 .
             George         Earwood13 ,          Special           Assistant          to     the     Region
       Director, sta t e d that t h e admi ni strative investigation was
       " s uspect ."     ROI , Ex. FlO, pp . 1 , 1 0 .
             Even       Kathy          J ohn son ' s         supervisor ,            Louise     Russell ,
       agreed t hat termination was not appropriate.                                       Davison, pp .
       214-215.
             Todd Davison, Ernest Hunter , George Earwood, and Mary
      Mi l l er    rejected            the       recommendation                 to    terminate            the
      Complainant.            As an a l ter native ,                Todd Davison recommended
      the Compla inant attend a training course and be assigned
      t o work with a mentor on a proj e ct . Da v i son, pp . 162-16 4,
      214-215 ;       ROI ,     Ex .     Fl8 ,     p.    11.        After       the    completio n          of
      these two requirements ,                     t he Complainant would be allowed
      to serve in avai lable managerial positions .                                          On October
      25 ,   200 5,     a      l etter       was       issued           which       memorialized       t he
      above.
             Complainant               completed             the        t r aining         requi remen t .
      Complain ant , pp . 247 - 252 ;               Davison , H. T., p . 112 . However,
      the    Age n cy       only       offered      her           one    mentoring          assignment.
      Davison , pp . 182-184 . Although t h e alleged purpose of the
      mentor ing       was      to     improve          the       Complaina nt's            supervisory

13   The H.T. r efers to t h is individu a l                 as    Earwood,     but the ROI        lists    him as
"Yearwood . " ROI , Ex. FlO .
                                                        29
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skills ,         the    mentoring         assignment            offered to              her      was       to
wo r k in         a "think tank" with Libby Turner (Davison,                                          H. T .,
p.      112) ,    as     opposed      to an          as signment            shadowing            another
manager to improve interpersonal skills.
         Todd Davison testified that t h e Complainant re j ected
the mentoring assignment described above . The Compla inant
e xplained,            however,      that     she      was          already        working            on    a
project for Maria Vorel in Wa shi ngto n D. C. , and that Vorel
would        have        needed       to     approve                her     ea rly        departure.
Complainant ,             H. T. ,    p.     2.65 .        The        Comp lainant               p r ovided
unrefuted testimony that                     Vorel         communicated to her                         that
she needed her to remain f or her full commitment because
they we re involved i n massive hi ring.                                   Complainant, H.T .,
259 .
         In the meantime ,             Libby Turner was assigned to a new
assignment in Washington D. C.                         Complainant ,               H.T .,       p.     260 .
Todd . Davison acknowledged that                          it was            not       c l ear    if     the
mentoring assignment ever got off the ground and conf irmed
t hat     no      other     mentoring        assignment               was        offered         to     the
Complainant .             Davison ,        H. T. ,        p.         182.        In      short ,           as
summarized by the Complainant ,                        Hurricane Katrina occurred
and      the      mentoring          ass ignment           went            " off      the        radar . "
Complainant ,            H . T .,    p.     258 .      Based              upon     the        evidence
presented          by     both      parties ,        it        is     not     clear         that        the
"offer"          for Complainant to wor k with Libby Turner was an
offer that the Agen.c y was equipped to carry out because
very soon after it was made Turner was                                        r eassigned to               a
different project . Even i f Libby Turn er h ad been ava ilable
to work with the Complainant , I fin d that the Complainant ,
though no fault of her own , was not able to avail herself

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        of that particular men t o r ing assignme nt .                                                 This is because
        Complainant               was        alre ady         committed                  to        work       on     the      D. C.
        proj e ct with Maria Vore l .
                   The Complainant testi f ied that the Agency asked her
        in 2007 if she were avai l a ble for a mentoring ass i gnment
        and        although           she       answere d           in        the            affirmative,               no    such
        assignment was offered .                            Complainant , H.T. , pp. 260-261 .
                   Since        the         Complainant's                re l ease,                she       has     not      bee n
        offered any supervisory positions in her Cadre.                                                               Davison ,
        p.       112 .       The        Complainant                 was        offe r ed               one         management
                                                                                    14
        position            from        a     different               Region             ,     but       the       o f fe r    was
        retracted based upon the recommendat i on of Todd Davison .
        Davison,           H. T. ,      p.     182 ;      Complai nant ,                     H. T .,     p.    24 2 .     Ronald
       Holmes was               placed in the position instead.                                               Complainant,
        H. T . ,     p.     241.        Davison stated that the Complainant could
        not serve in a managerial role without first complet ing a
       mentoring assignment .                           Davison H. T . ,                     p.     182 .      However,         as
       noted above ,                it was not the Complainant ' s                                       fault that s he
       had n o t c ompleted a mentoring assignment.
                   Although            FEMA        contended                 that            all       the     Complainant
       needed to do to obtain further manageria l positions was to
       take one course                      (which she did)                   and f ulfil l                 one mentoring
       assignment,                the        evidence             is         clear             that         she      was       not
       provided with a                      realistic opport unity to be mentored so
       she could regain her responsibi lities, sta tus, and income.
        It also is significant that                                    had          it        not      been        f or      Janet
       r_,_______
        Lamb ' s c amp aign agai n st t he Complainant in t.h.e__ first
                                                                        ~------
                                                                         1

      .-place
        ---.----------------      -----------
               , th e Compl ainant would not have bee n p l a c ed in this
       ..---....___.-----~--------·------------. ·-------·····~---····-. · ·-··-·   - -·
       predic ament .
      -----------·
14   This was Regi on o r Ca d re 6.
                                                                 31
VClll   LU    .1.C....   U.1. •   .1.   It"                                                             ... uc....u   J    C......J .1.    uc....c....c....


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                            There were few positions that the Complainant served
             in after her release.                                   She briefly worked on a project for
             Maria                Vorel            in     Washington           D.C.         Complainant,                         H. T.,                       pp.
             238-239.                         In        addition,          the       Complainant                    made                   herse lf
             available to work i n a                                   non-management introductory level
             posi tion 15 in Baton Rogue, Louisiana. Complainant, H. T., p .
             239,           243-244. Although the Complainant took this j ob ,                                                                                she
             found                working               with    a     decreased         title         and             salary                    to             be
             humiliating.                           Complainant,               H.T.,     pp.         243 -244.                            She                 was
             working in a                           diminished capacity and was the                                           subject                          of
             gossip. Complainant, H.T., pp. 256.
                            The Complainant felt                            publically disgraced and began
             to experience headaches, sleeplessness, and anxiety.                                                                                     ROI,
             Ex.          C4,            p.        6.    For    some       undisclosed            period of                          time                     she
             sought counseling.                                 ROI, Ex. C4, p. 6.                   Her friend , Thelma
             Reid,            submitted a letter stating that the Complainant had
             experienced                           crying       binges         and     felt       insecurity                              for             her
             future.                     ROI, Ex. F21, pp. 1 -2 .
                           Janet Lamb had already given public announcements to
             Complainant's co-managers and staff that                                                       the Complainant
             was           released                     due     to    an       investigation.                   I          find                   these
             individuals did                              not    have      a     right      or      need              to         know                 this
             information.                           Given       the      fact        that      the        Complainant                                     was
             responsible for hundreds of emp loyees,                                                when Lamb made her
             announcements numerous employees                                          were going to specula te
             about                 the             details.          It
                                                                     --- - is   common
                                                                            - -------·---
                                                                                        ..
                                                                                                      sense                 that
                                                                                              -·-·~-·--~----------···• "·"·-··-......... _.~
                                                                                                                                                      this
                                                                                                                                                               . ......
             contributed to more rumors.                                         The   end result was                                that                 the
             Complainant's                              reputation         was    tarnished              from              the               public
             announcements                          and the          r umors ..      It is       not       surprising that

  1 5 The Compla ina nt described the position as s li g htly                                                             above              that              of         an
  adminis trative assistant . Complainant, pp . 23 9 , 243-2 44.
                                                                            32
J a n 20       12 01:17p                   S~lvia        E.    Farring t on                        l828J         251-6222                                                         p.5
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             the Complai nant heard from many employees asking her to
             clarify what had happened.                                 The Complainant was questioned
             why she was not being deployed.                                             ROI,    Ex. Al, p .                          6.              The
            Complainant                  was     told         by one           employee            that          people                        were
             saying she had walked off the job, while another heard she
            had been escorted out in handcuffs .                                                ROI,    Ex.           C4,                p.             6;
            Complainant, H. T. , pp . 245-246.
                         Given          the     above,        had       the        Complainant             continued                                    to
            make hers e lf available to work in less desirable positions
            than           what          she    normally             worked,              she      would             have                      only
            contributed                  to     the      demise               of   her      own        reputa tion.                                     To
                                                                                                                                                                      \
            mitigate her damages,                             she is not required to voluntarily                                                                          '
                                                                                                                                                                              '
            demote            herself           by      working         in         non-comparable                    positions .
            The          Compl ainant           had      a     consistent                 employment              his t ory                            of
            manageria l positions . She was not required to work in non-
            managerial jobs at lower pay and prestige.
                         It        is     noteworthy               to         point        out        that             when                           the
            Complainant                  attempted            to     find          other        comparable                       federal
            employment,                  she     was          stuck           with        her      la st         p erformance
            appraisal                   which        memorialized                  that         she     was                  released
            pending the                  outcome         of     an      administrative                 investigation .
            ROI,          Ex .     F2,    p.     7 5.    The Complai n ant testified that when
            she appli e d for other federal jobs the potential employers
            required her                  to submit her last evaluation .                                    I__ _...__
                                                                                                           ,_.
                                                                                                                      f .....ind           that
                                                                                                                              . ......._____ ... ·····-····-..._._,
                                                                                                                                                  ,


            this significantly decreased the Compla inant's chances to
           ------   ------~-----
           obtain ot h e r - federaT-emp-Ioymenl ·: ·-·--·-·-
           ---- - -- --~-- -~ -- ...--------··---·-......-··-- ----- ........____....___ __ ,._,____,,
                                                                          ,


                      Bas ed upon the above , the Comrlainant has establ ished
           t hat the Agency's articulat ed reasons for its actions are
           pre textual.                  The    Compl ainant              had        a    v e ry      good         co ns i ste nt
           work record with the Age ncy , including her performance in

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       her most recent position for which she was nominated for
       an    award      on    January      6,      2005 16 •      Agency         Ex .           2.     She    had
       rece ived awards and bonuses throughout her career and Clay
      Saucier was pleased wi th h er as a manager. Whi le there was
      room for i mprovement with h er interaction skills,                                               as Clay
      Sauci er       testifi ed,       she      was      receptive             to     improving               and
      began h olding meet ings to dea l                         with any concerns of the
      sta ff.      Saucier was pleased with h er progress ,                                      but before
      measures         cou ld ba rely        get      off       t he     ground,            I        fi nd   tha t
      Janet       Lamb continued           in her pursuit                     to get            rid     of    t.h..e _
      Complainant .
              Due to Janet Lamb ' s                activity in encouraging written
      complaints         against          the      Complainant                and       a         subsequent
      investigation, t he Complainant was subjected to heigh tened
      scruti ny . This heightened scrutiny was in direct                                              contras t
      to     how    Janet       Lamb      trea t ed      her       other         Branch               Manager,
      Shabbar Saiffee .             There was         n o ev idenc e            t h at Saiffee had
      spoken with . Lamb abou t              how she treated non-minor itie s or
      if    she    had       used   the    word       darkie           before .       There             was    no
      evidence that he informe d h e r                      that he would file                          an EEO
      complaint against her.                 Saiffee did not share any of t he
      Complainant ' s          protected        classes           f or        which         she        claimed
      discrimination and reta l iation . He was treated d ifferently
      under same or s i mi la r circumstances. Whi l e the Complainant
      lost      her      positi on        and       in      a      pra ctical                   sense ,       her
      employment , Saiffee wa s merely verbally "counse l e d."
              Bas ed     upon       the      fo regoing ,              t he     Compla i nant            has
                                                                                                     --- --  -
      es t ablished          that   she     wa s      reta l iated            and       discriminated
      against whe n the Agency subjected h er to an adm ini st~ati ve·- -~

1 6 I find that the Complainant was n omi n ated                 for t hi s     award before she ra ised
h er concerns wi th J a ne t Lamb.
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investigation,           released        her,      and      did       so     with        armed
security guards being p osi tioned in the area .


     Complainan t ' s Authori ty Was Undermined & the Agency
    Publically Announced She Was Investigated and Released

                      Hostile Work Environment

        In order to establish a                 prima f acie case of hosti le
work environment , the Complainant must show she belongs to
a protected class, the harassment was severe or pervas ive
to alter the terms and conditions of employment and create
a      d isc riminatorily abusive working environment,                            and that
the severe or pervasive harassing conduct would not have
occurred except for membership in the protected class. See
'Andrews v.       City of Philadel2hia,                  895    F. 2d 1469          (3d Cir .

1990) ;     Hall V.      Gus Constr .       Co .,     8 42 F. 2d 1010             (8th Cir.
1988); Hicks v . Gates Rubber Co., 833 F. 2d 1406                                 (10th Cir .
1 987) ; McKinne.J:'.'. v .     Dole,    765 F . 2d 1129          (D . C .   Cir .       1985);
Olson v . HUD, EEOC Appeal 05930413 (June 16, 1994) ; Taylor
v. Air Force , EEOC Appeal No. 059202888 (Nov . 28, 1990).
        Unless the conduct i s            very severe,            a    single incident
or group of         isolated        incidents         will      not    be    regarded as
discriminatory harassment.                 See Banks v. TVA,                 EEOC Appeal
No .     01911784     (Sept .     13 ,   1991) .      To     determine        whether          an
environment is sufficiently hostile or abusive,                                   one must
look at all the c ircumstances,                    including the frequency of
the discriminatory conduct;                     its   severity;            whether       it    is
physically threatening or humiliating, or a mere offensive
utterance; and whether it unreasonably interferes with an
e mployee ' s     work    performance .          Faragher         v.       City     of    Boca
Raton,      524   U.S.    775 ,    787    (1998).          To   be actionable,                the
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       environment            must       be      objectively                    and     subjectively
       offensive; one that a reasonable person would fi nd hostile
       or abusive ,        and one that the victim in fact did perceive
       to be so.
              The Complainant was told by a                        staff member              in 2001
       that        Janet    Lamb        had     called         her          a     "rnicromanager."
       Complainant ,          H. T. ,      p.     283 .           In        June        2001 ,     t he
       Complainant's staff had also informed her that Lamb had
       tried       to   woo     them      away        from     her          with       promises     of
       promotions and support if they would come work for Lamb.
       ROI , Ex. Fl, p. 15 ; Complainant H.T., p. 283.
              Ernest       Hunter       recalls       t he    Compl ainant              compla ining
       during Hurricane Isabel 17 that Janet Lamb was undermining
       her    by    providing        staff      with     different               directions       than
       what    t he Complainant had provided. Hunter, H.T., pp . 589,
       596,    600 . However, the Complainant acknowledged that                                   Lamb
       had the authority over her and as such,                                    Lamb could set
       the    directives.        Complainant ,          H.T . ,        p.       657.    As   already
       discussed        previously        in     this        Decision,            the    nature     of
       relief      work    in disaster          areas        often          results      with     some
       directives hav ing to be changed.
              The above ,      however,         was    not     the      Complainant ' s          only
       comp l aint agai nst Janet Lamb during this                                timeframe .     The
       Complainant was concerned because she had been told 18 that
       Lamb had used the word darkie. Complainant, H. T., p. 290-
       291.
              Ernest    Hunter       recalled         that    a    managers mee ting was

17 Hurricane Isabel occurred in 2003.
18 Complainant testified that Craig Toft told her that in 200 1 Janet La mb had
used the word darkie when corrunenting on how many blacks we re worki ng fo r FEMA .
Reportedly, after La mb said this word , she qui ckly apo logized explaini ng t hat
th is was not a f r equen t term s he used. Complainant, H.T., p p. 27 6-278 .
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held to address tensions that were developing during the
Hurricane           Isabel        relief      effort .         Those         in     attendance
besi des       himself          incl uded     the       Complainant ,             Janet        Lamb ,
Todd        Davison,        Clay      Saucier,          Shabbar         Saiffee,           Lonnie
Ryder,       and Rick Mayson.                ROI,      Ex .    Fl,     p.    1,    16 .    During
this meeting Complainant did not single out Janet Lamb or
otherwise mention he r                name as a           source of her concerns ,
even though she had a concern based upon somebody telling
her that Lamb had used the word "darkie . "                                       Complainant,
H. T.,      pp .     289-291.        Complainant's              information              was     not
based upon personal knowledge and when she was asked who
had used the word ,               Complainant declined to name anybody .
Instead ,          she     stated     that        it     was    somebody            in     senior
management who was                 in the room .           Complainant ,            H. T .,      pp.
291.
       Todd Davison did not recall Janet Lamb's name being
mentioned          in     the     meeting,         but    he      thought          that         Cl ay
Saucier at some point in time informed him that somebody
overheard          somebody        say     that        Lamb     had     used        the     word .
Davison .      H.T. ,      pp .    94-95 ,   194-195 .         Todd Davison,              Ernest
Hun ter ,    and the Complainant had not personally observed
Lamb     using           such     language .       H.T.,        pp .    114,        608 .        The
evidence shows             that     this     issue       was     not        pursued by           the
management          team because           specifics           were    lacking ,          no     one
was identified by name at the meeting ,                                and what           little
informat i o n       was        available     was      hearsay .        The       information
t hat the Complainant possessed was                             second hand and                  she
was unwilling to fully share it at that time.
       Thus, the meeting turned to other issues. One of t he
other issues pertained to whet her there were some "angry

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white males" in the wo rkforce                                   that were not happy they
were being r e leased due to lack of work .                                            H.T.,    pp .     190-
194 .    Some thought they were a ngry becausE:; t hey were not
placed        in      supervisor               positions           over          people        of    color ,
whi l e others disagreed with this analys i s . Davison , H. T . ,
pp. 190-196; Complainant, H.T., p. 295.
        The Complainant claimed that she had been subjected
t o a h o stile work env ironment since 2001 . To support t his
claim,        Compla inant                  stated         she    had        been        sub jected        to
"undermining comments ,                           gossip,        disparag ing            remarks ,        and
racia l ly derogatory language" made about he r and others.
ROI ,    Ex .      Fl ,     pp .       3,     14.    However ,          this       is a        conclusory
statement that is void of detail. Information was lacking
regarding           who ,     what ,          when,        where ,       why ,         etc .    The      vast
majority           of     Complainant's                    information             was     based         upon
hearsay .        The        sources            of     her        informat io n            went      mostly
unnamed         and       these         individuals              did     not       testify          on    her
behalf .        Although           I        find     that        the    Complainant             believed
what      she       was       told           by      others ,          she       had      no    p e rsonal
knowledge of i t.
        The     e xamples          covering               2001    through           2004       that      the
Complainant testified about based upon her own personal
knowledg e         did      not        ref lect        a     hosti le environment.                     These
examples inc luded J anet Lamb commenting:                                         (1 ) in 2001 that
a   particular              e mployee               (who     happened             to     be     Filipino
descent) was difficult to understand;                                        (2)    in 2001 that a
particular            employee               (who     happened           to        be     an    African-
Amer ican female)              wore too much jewel ry ;                          (3)     in 20 01 that
a   particular              e mployee               (who     happened            to      be     African-
American)          was       too            loud;     ( 4)       that        a     supervisor            (who

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.Jan   cu   J.C    UJ.: CUf"                                                               lO<'.:OJ    <'.:.:l.L-o<::.<::.<::.          t' •   .L .L


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              happened              to        be     a       white        male   Caucasian)                was           having
              difficul ty managing two employees who did not get along
                  (who   happened              to       be    African-American               females) ;                 ( 5)       in
              20 01      that       an        employee          (who happened to be                      an Africa n -
              American female)                      was dressing too casually by wearing a
              shirt       with the                 word      "bootylicious "            on    it ;       (6)         in 2001
              that African- Americans should not go i n to the f ield, per
              orders           of        the        Fede r al        Coordinat ing           Officer,                 due          to
              threats made by the KKK ;                              ( 7)   in 2002 or 2003 that                                 DAEs
              should not be left out in the field too long because they
              tend       to     become              i nvolved         in     relationships                with             ot her
              people ;          (8)       in        2002        or    2003       that        an       employee                   (who
              happened          to        be       an     American          Latin     male)           coul d          not         be
              depended upon because he chased women;                                          and        (9)         in 2003
              that       an     employee                 (who    happened        to     be        from        Guam)              was
              scattered and not                      very focused.                Complainant ,                H. T.,            pp .
              270, 272-277 ; ROI, Ex. Fl , p . 15 .
                      Not enough information was provided to convince the
             under signed                t h at       the       corrnnents       noted        above            were              not
              legitimate              concerns               irrespective             to      which            protected
             categories the employees may have belonged .                                              For example ,
             although           re lief              workers          work       in     tough          envi r o nments
             because           they            are        deployed          to      disaster             area s ,                the
             Complaina nt had a l so                         shared concerns about                      some            r elief
             workers dress ing t oo casual ly and t here was n o evide nce
             to even s ugges t that wearing c l othing with "bootylicious n
             written           on        it    would          have        been   considered              approp riate
             attire.
                      While it is noted that the Compla inant viewed Jan et
             Lamb as being overly critical of t he minorit y workers ,

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        she did not set forth sufficient detail to show that Lamb
        treated       them     less         favorably          because       of    their         minority
        status .      Complainant            concluded that             non -minority workers
        could        dress     inappropriately                  or    speak        with         hard       to
        understand           southern        accents           (as    opposed       to      a     fore ign
       accent) and yet, these situations would not draw negative
       comments         by         Lamb .     Complainant ,                         pp.          271 - 272 .
       However ,        the          Complainant ' s             descr iption s             of          these
       inc'J..dents were just too vague and conc lusory in nature .
       The re         was      no           corroboration .             Significantly,                   the
       Complainant            did       not       establish           that         Lamb         had      not
       confronted            the     non-minority              employees          outside         of     the
       Complainant's               presence .        The        examples           also         did      not
       represent        instances            of     severe       or     pervasive          harassment
       based on race ,              sex ,    or retaliat ion that would alte r the
       terms and conditions of employment.
              The Complainant also provided evidence that she heard
       of     Janet    Lamb's         rejection           of   an elderly           employee            that
       Lamb wanted to get rid of because she thought of him as
       being too old . Complainant ,                       H.T.,      pp .   349-352 ;          RO I,    Ex.
       F2 ,    pp.    39 ,     43.     While        the    abo ve      illustrates              negative
       stereotyping           based         upon     age ,       this        example        does         not
       support        the     Complainant's           claims          which       are     based         upon
       race, gender , and EEO activity. It does , h owever , explain
       why the        Complainant was growing more and more impatient
       with Janet Lamb .
              I also find that the Compla inant                          could not show that
       Janet     Lamb        had     used     the    word        darkie .         The    Complainant
       strongly believed19 ,                based upon second hand information,


19 Although not known to the Compl ainant until the hea r ing,                          Jan et Lamb d id hea r
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       that        Lamb    had        used       this    word .      However,           there     was        no
       evidence presented by any witness that actually witnessed
       any such incident.
               Although             the     above       explains       why       the      relationship
       between the Complainant and Janet Lamb had become tense
       years ago ,             it    (along wi th         t he     other examples described
       above)       does not meet the legal standard for establishing
       that        Janet       Lamb        had     subjected          the       Complainant            to     a
       hostile environmen t                  during 2001 through 2004                         because o f
       her race , gender, o r a ny EEO participation.
               I    find        that        from        June       2001        through        2004,         the
       Complainant              was        not      subjected             to     a      host i le        work
       envi r onment           on     the    bases       of    her     race,          gende r,      or      EEO
       activity.           There was no conduct proven to have occurred
       t hat       was     phys ical ly            threa tening            or        humil i ating.          In
       additi on ,         the        Complainant's            work       performance            was     not
       affected by Janet                    Lamb ' s     alleged      conduct.           The     evidence
       showed that during this timeframe the Complainant thrived
       in her career .                Complainant , H. T ., pp. 230-235 .
               The remainder of the Complainant ' s                              claim pertains to
       whether she was subjected to                            a    hosti l e        work environment
       from January 20 05 and continuing ,                             during which time her
       aut hority was al l egedly undermined and misrepresented by
       other        staff           and    management          officials ,             a nd    after        the
       release            of         the      administrative                   investigation             said
       investigatio n               was    broadcast         by    employees           and management


an employee use t he word darkie and took no action to correct the behavior .
Lamb, H. T. , pp. 1001-1004 . Lamb testified that she was walking down t he hall
when she heard three male employees talking and one of t hem (she was not sure
whi c h one) used the word darkie . Lamb acknowledged t ha t she took no corrective
action.    Her explanation was merely that she did not want to confront them and
she was leaving. Lamb, H. T ., pp. 1000-1005.
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 officials.
       The    facts     pertaining to the                   remainder of             t he     claim
 have been extensively addressed earlier in this Decision
 and do not need to be repeated in detail. I find that t he
 Complainant was undermined through the heightened scrutiny
 that Janet Lamb subjected her to which was based upon her
 race, gender , and EEO protected activity. See                                  the earlier
 sections of this             Decision which pertain t o                         retaliation,
 disparate treatment and pretext.
       As    previously         explained,             it      was        this       heightened
 scrutiny      which        began      in   January          2005         when    Janet         Lamb
 instructed Wayne Box to document the Complainant when Lamb
 was   not    the     Complai nant ' s           supervisor.          This       led       to   the
 April      2005    administrative           investigation which,                     in     turn,
 lead to the Complainant's abrupt release on May 27, 2005 .
 Additionally,         Janet        Lamb     subjected              the    Complainant            to
 unnecessary          embarrassment              and        degrada t ion            when       she
 publically         announced        to     staff       and         managers         that       the
 Complainant had been released from her position after an
 administrative investigation. ROI,                          Ex .    F2, p. 159 (e- mail
 from Cotilda Harvey); Lamb, H. T. , p. 963.
       Janet Lamb told Complainant ' s staff that she had been
under investigation and was released. ROI, Ex .                                   F2 ,      p . 159 .
On May 31,         2005,    Janet Lamb held a meeting with staff and
informed them that:             ( 1)      CEO staff had filed                    a     complaint
against the Complainant;                (2) the Complainant had been under
investigation         by     Headquarters;             (3)      the        Complainant           was
released; and         (4)    headquarters requested the release .                                Id .
Lamb     acknowledged         telling        t he      Comp lainant 's            co-managers
that she had been investigated. Lamb, H.T . , p. 963.

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       Due     to     the     above,     it     is     not     surprising         that      the
Complainant heard from many employees                        asking her to clarify
what   had happened.           The Complainant was                 routinely questioned
why    she    was     not   being      deployed.        ROI,       Ex.   Al,     p.   6.    The
Complainant was told by one employee that people were saying
she had walked off the job, while another heard she had been
escorted out in handcuffs.                    ROI,    Ex.    C4,    p.   6;    Complainant,
H.T., pp.      245-246 .
       I find that during 2005, the Complainant was subjected to                                      -
 a hostile work environment on the bases of her race , gender,
 and    EEO     protected        activity.           What    occurred          during      this
 timeframe was severe and altered the terms and conditions of
 Complainant's employment. Although the Complainant was still
 a DAE theoretically able to continue working for                                FEMA,     the
 public announcements described above not only humiliated t h e
 Complainant,         but harmed her reputation and impacted on her ,
                                                                                                  /
 employment opportunities.


V. LEGAL CONCLUSION

       I find that the Complainant was discrimina ted against on
the    basis     of     race    (African-American) ,               sex      (female),      and
retaliation (prior EEO activity) when;                       (1)    she was wrong fully
subjected to an administrative                   investigation which began in
April of 2005,         and culminated on May 27,                    2005,     when she was
abruptly released from her Branch Manager position in Orlando,
Florida,       and     said    release         occurred       with       the    additional
embarrassment and degradation of security guards positioned in
the area ; and (2) she was subjected to an ongoing hostile work
environment beginning in January 20 05, when her authority was
undermine d     by    Janet    Lamb      and    Lamb    publical ly announced               to
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     employees      and management             officials that       the    Compla inant      had
     been investigated and released.


     VI. RELIEF
                               Compe n s a t ory Damages


         Section 102(a) of the Civil Rights Act of 1991 , 42 U.S.C.                              §

1981a,       authorizes       an award         of compensatory damages             as part      of
make - whole relief for intentional discrimination in violation of
Title VII .         See West v. Gibson, 119 S.Ct. 1906 (1999); Wilson v .
SSA,    EEOC Appeal No.             01971629      (February 28,       2000) .     Compensatory
damage        awards       must      be    limited      to    the    sums        necessary      to
compensate a          Complainant         for act ual harm,         even if the harm is
intangible .         See Wilson, EEOC Appeal No . 01971629 .
       Compensatory          damages       may    be    awarded      for    past       pecuni ary
losses ,     future pecuniary losses, and non - pecuniary losses,                          which
are directl y or proximately caused by the agency ' s discriminatory
conduct .     Finlay v.        Runyon ,     EEOC No .     0194298 5       (April 29 ,     1 997) .
Pecuniary losses are              ~out    of pocket expenses incurred as a result
of     the     employer's           unlawful      action,      including         job     hunt i ng
expenses,         moving        expenses ,        medical       expenses,          psychiatric
expenses,      physical therapy expenses,                 and other quantifiable out
of pocket expenses."                Demeuse v .       USPS,   EEOC Appeal No .          01950324
(May 2 2 ,    19 9 7 ) .    Pas t    pecuniary losses are the pecuni ary lo sses
that    are    incurred        prior      to    the    resolution     of    the     complaint .
Future pecuniary losses are losses that are likely to o cc u r after
resolution of a complaint .                 Non-p ecuniary losses are losses tha t
are    not    subject to        precise        quantification,       includi ng emotional
pain, suffering , inconvenience , mental anguish , loss of enjoyment
of life, injury to professional standing, injury to character and
reputation,        injury      to     credit s tanding,         and       loss    of    h eal th .
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Finlay at EEOC No. 01942985.

                                      Past Pecuniary Losses

          I find that the Complainant is not entitled to $10,000 for
past medical expenses for either a workers compensation injury
or counseling sessions.                 See H.T.,        pp.    422;    ROI,     Ex.       C4,     p.    5.
To the extent the Complainant was seeking relief for her on-the-
j ob inj u ry ,           her claim is denied. Any expenses pertaining to an
on-the-job injury should be handled by the Department of Labor's
Office of Workers Compensation Programs. This is not the proper
forum          to    determine      what     the     Complainant       may      or       may     not     be
entitled to for medical                     expenses assoc iated with an on-the- job
injury. In addition , the Complainant did not prove her claim for
the need to be reimbursed for medical expenses associated with
attending                any    counseling     sessions.        The      record           is      sparse
regarding            this       topic and there were no            receipts              or bills        to
establish t hat these expen ses                      have been incurred and ,                    if so,
what the costs have been.

                                     Non-Pecuniary Damages

      I    find that             the Complainant is entitled to non-pecuniary
compensatory damages i n the amount of $60,000 for the emotional
pain,          suffering,          mental      anguish ,       humiliation, .            in jury        to
professional standing,                 and injury to reputation.                     I    find that
the Agency's               discriminatory conduct             directly       and proximately
caused          the       Complainant ' s     embarrassment       and     humiliation.               The
Complainant               was    publically     disgraced       and     th is    lead          her      to
suffer from headaches,                 sleeplessness ,          and anxiety.               ROI,      Ex.
C4,       p.        6.    She    experienced         crying    binges     and            she   sought
counseling for an undisclosed amount of time. ROI, Ex . F21 , pp .

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 1-2; ROI, Ex. C4, p . 6 .
          The    Complainant                       was the subject of gossip which                                ranged
from stories having her walking off of the job to being taken
out in handcuffs by armed guards.                                                The Agency also made public
announcements to staff and managers that the Complainant had
been investigated and released from her position.                                                          The pubic
announcements            made               by           the      Agency            were   especially       egregious
because         it     ensured                    that        numerous              employees     would     hear     the
information,            t h us making the humil iation more severe and the
rumor-mill run rampant. Although the statement was technically
tru e ,    had it not been for the discrimination and retaliation
the       Complainant              woul d                 not           been        inves tigated,         much    less
released from her position .                                          Although the Complainant was not
present         when     J anet              Lamb made                     the      public announcements,           the
Complainant learned what had occurred and was humiliated by
it . Her reputation was harmed .
          Complainant is entitled to be compensated for the actual
harm       she        suffered ,                    even              where         the    harm    is ,    in     part ,
intangible . Cobey Turner v . Dept . of the Interior , EEOC Appeal
No.    01953690         (Apri l                   27 ,    1998) .            In cons idering the amount of
non-pecuniary damages to award in this case,                                                      I may take into
account         the    harm done                         to       the       Complainant       and    consider       its
severity         and     duration                        which             we r e    caused          the    Agency ' s
actions .        Finl ay v . Run yon , at EEOC No. 01942985. ..._I fin d that
                                                                                              by
                                                                                                          _______
what occurred was severe and its duration continues to this
day because the Complainant has been precluded from wo r king in
managerial positions a t                                 FEMA .            Remaining out of the workforce
has only contributed to her humiliation because she has not
been restored to her original stature.
       The Commission has held in other cases that the lack of

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medical documentation or expert testimony does not render an
award       of           non-pecuniary          compensatory           damages      itself
inappropriate.            The    Cormnission       ha s    recognized      that    neither
evidence from a health care provider nor expert testimony in
general is a prerequisite for recovery of compensatory damages
for mental or emotional distress.                         Johnson v.     Interior,       EEOC
Appeal No.        01961812        (June 18, 1998); Lawrence v,.                 USPS,    EEOC
Appeal No.        01952288        (April 18,        1996).       A complainant's          own
testimony,       along wi th circumstances of a particular case,                          can
suffice to sustain the complainant's burden.                              See Lawrence,
EEOC Appeal No. 01952288.
      I     find         that    the      discrimination         in    this      case     was
inherently degrading and humiliating to the Complainant.                                   In
addition     to    the      evidence       presented        at   the   hearing,     cormnon
sense dictates that having your colleagues informed about your
removal due to an administrative investigation and then not
being allowed to work in any managerial positions,                                al though
you   are    still        "technically"           considered     an    employee,        would
cause distress and uncertainty. For all practical purposes the
Complainant was taken out of the workforce for a protracted
period of time and she missed opportunities for other career
enhancement .        I    find    t hat   the     Complainant has        established a
causal nexus between her emotional pain and the actions of the
Agency in this case .
      The    amount         of     non-pecuniary           damages     should     not     be
excessive     a nd       should     comport       wi th    the   amounts       awarded    in
similar cases.            Id.     Commission cases most closely on point
have awarded $50,000 to $52 ,000 .                    For example,       in Arreola v .
Ashcroft,    EEOC Appeal           01A033 42       (January 17 ,       2002)    on appeal
the Commission increased t h e non-pecuniary damages award from

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$35,000 to $52,000 to ensure the Complainant was made whole.
In that case the Complainant's                           credit    rating and reputation
were tarnished after he                  was       terminated because of                financial
problems encountered after his discharge and false rumors were
spread that             he assaulted a         convenience          store clerk.          In the
case     at     bar,       the    Complainant's             reput ation         was     not      only
tarnished in Orlando,                Florida,        but throughout FEMA' s               regions
across     many         locations,    making         the     damage      to     her    reputation
extensive .         This was significant .
        The    Commission         awarded          $40,000    in    a    nonselection            case
where     the        complainant         suffered          mental        anguish,       loss       of
enjoyment          of    life,    mood    swings,          weight       loss,     and    lo ss     of
sleep.        Woodard v . Labor,              EEOC Appeal No.             01Al1604       (October
11, 2002 ).
        In Brown v. Potter, EEOC Appeal 07A30050                              (July 14, 2004),
the    Commission          affirmed      an    administrative             judge's       award     of
$50,000       in     non-pecuniary          damages        for     inconvenience,         mental
anguish,       loss       of     enjoyment          of     life,    humiliation,          public
embarrassment,            and    diminished         self-worth.          In     that    case     the
Agency failed to provide a reasonable accommodation and sought
to terminate the complainant.
      Considering           all      relevant             factors        discussed        above,
including my review of comparable cases in which non-pecuniary
damages       have      been     awarded,      I    find     that       the   Complainant         is
entitled to an award of $60,000 in non-pecuniary compensatory
                                                                                                                 /
damages for the emotional distress she suffered as a result of                                              ·'
                                                                                                        /
the discrimination of the Agency.




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                               Future Pecuni a ry Lo s s es

        The     Complainant           has       sought               front     pay .     Front          pay     is
awarded        when an       employee           would       otherwise have                been abl e            to
return to the workplace,                    but for t he d i scriminatory practices
of     the      employer.           The         Commission              has       identified               three
circums tances         when         front       pay         may       be      awarded         in     lieu       of
reinstatement .             They are:           (1)     when no position is available;
(2)     where     a        subsequent           working              relationship             betwee n         the
parties would be antagonistic; or (3) where the employer has a
long     standing           record         of      long-term                 res istance           to      anti-
discrimination efforts.                    Cook v . United States Postal Service,
EEOC Appeal No . 01950027                   (July 17, 1998).
       The Complainant has n ot established circumstances· ( 1)                                                 or
(3) above . The Agency has represented that there is a position
                 ~-                                          -         ------ · - - - - - - -·
for the Complainant.                See Agency's                 Post-Hearing Brief,                    p.     22.
-------·~
In addition ,         the Complainant has                     not       shown that             FEMA       has    a
long     standing           reco rd        of     long-term                  resistance            to     anti -
discrimination efforts .               Despite a finding of discriminat ion in
this case mos tly due to t he actions of J ane t Lamb ,                                         it      was not
shown     that     either       FEMA        or        the     Mitiga tion              Division          has     a
history of resistance to anti-discrimination efforts.                                                   To the
contrary,       the evidence showed that efforts were being made to
increase       diversity        within           the        Mitigation           Division            and      the
Complainant was part of t hat effort.
                                                                                                                     :.   -..
       Wi th     respect      to      (2)       above,           I     find     tha t     a     subsequent                 /
working        relat ionshi p         between               the        parties          would        be       n ot
                                                                                                                     ''\
antagonist.ic         as    l ong     as     the        Complainant             does      not        have       to         '
report to Jane t Lamb (and/or 'Wayne Box} or otherw ise have Lamb
and/or Box above her in FEMA's hierarchy. A subsequent working
                                                                                                                               "''
                                                                                                                                 I

                                                   49
                      _   ...., ... ... ... ,._,   -·    I,._,,   I   ... 11g--1 1                                                ,- . --
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relationship between the parties would not be antagonistic as
long as the requirements noted below are followed.
        The    mentoring                           requirement                       shall           be     removed        (see
                                                                                      "----------·----~---
Correcti ve Action section of t his Decision) . The Agency shall
irrunediately place the Complainant in a                                                        comparable managerial
position and while doing so the Age~~-ust ~bld~-by. th~ ·-othe~--""' ~
specific      requirements                              set           forth          in    the       Corrective       Action
section       which         will                   ensure                  that           the    subsequent          working
r elationship between the parties is no t                                                   antagon i stic. See page
66 of this Decision .


                                                                  Back Pay

       The Agency contends that                                        t he Complainant                   i s not entitl ed
to back pay because she failed to mitigate her damages when
she did not comp l ete a mentoring assignment, a requirement set
by the Agency before it would assign her to another managerial
position.       It also asserts that she should have made hersel f
available      for    non-manage r ial                                 jobs          in the          interim she       could
have    continued         working                        as       a        DAE .      Al though           the   Agen cy    has
t echnically kept the Complainant within its database as a DAE
employee, by requiring her to obtain mentoring,                                                             but then not
providing      her         with                    a      viable               mentoring              opportunity,          it
precluded     her     from                    working                 in     any          managerial        posi t ions     at
FEMA. I also find that had it not been for the discrimination ,
the    Complainant               wou l d                not            have          been       required        to    obtain
mentoring in the first                                  place.             Thus,          this requirement            should
not    have   placed             upon                  the        Complainant .                 In    addition       and    as
al ready discussed previously , the Complainant was n ot required
to demote herself by working in non - managerial job with l ess
prestige and less salary .
                                                                      50
  --   --   --·--·              -- -·-- -·      · - - - - · · o--··

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         (1) Had it not been for the discrimination , the Complainant
    would      have       continued        to       work     in       Orlando ,        Florida ,        in     h er
    Branch Chief position until she was offered the position in
    Region 6. Thus,              she is entitled to back pay f o r the durati on
                                                                                                        ---·---·-

    --
    of time that the Branch Chief position in Orlando was filled
                                                                                                -··             ..-._...:-~

    by anybody20 up t o the point of time that she was offered the
                                                                                   -                      ··--·---...
    position in Region 6 referenced below in paragraph                                                (2) •    Her
    back pay shall be calculated at her . base salary {at $80 , 000
    per year for any regular 21 hours worked)                                plus overt ime hours
    worked paid at               the    overtime         rate         of pay minus          any        interim                \
                                                                                                                                  ~\ .


    earnings 22 •        The     amount        of   any overtime            hours        worked by             her                  ...\
                                                                                                                                           \
    repl acement ( s)           {up to t he point of time that                         she was offered                                         '·

    the position in Region 6) shall b e determined and this amount
    of hours        shal l       then be paid to the Compl ainant in overtime                                                       ./


    pay .

         (2)       Had     it     not    been        for      the       required         discriminatory
   mentoring             requirement ,          the        Complainant            would        have           been
   assigned to the management posi tion                                 in Region         6,    which         had
   previously been offered to her, but then retracted because she
   had      n ot    completed           h er    mentoring             assignment .        The      evidence
   showed that Ronald Holmes was placed in the posi tion .                                                Thus ,
   the Complai nant is entitled to back pay for the duration of
                       ---------                   -- - - - ·- -- ···----·-····-
   time that this position was fill ed 2·:r at her base salary (at
                                                      ·------------------------~~~-·-~------ ·-·-··                    ...

20 The Agency shall furnish relevant information to t h e Complainant so that
verificat ion may be made of the back pay calculation.   This requirement applies
to this position (and overtime hours worked) as well as the position referenced
in paragraph number (2) below .
21 "Regular" hours refer to hours paid at the Complainant's base rate of pay, as
opposed hours compensated at the rate for overtime pay .
22 The Complainant shall furnish relevant W-2s and/or 1099s so verification may · .,,_,
be made of any interim earnings . This requirement is applicable for all years '-,
for which she wi ll receive back pay .                                            ._?
23 If Ronald Holmes was subsequen tly replaced by another individual this shall
not cut off the back pay . The Complainant is entit l ed to back pay for t h e
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    $80 ,0 00 per year f o r              any regular hours worked)                       plus overtime
                                                                                                                                 /
                                                                                                                         /
    hours         wor ked    paid    at       the     overtime          r ate     of     pay    mi n us   any        '
    i n terim earnings.             The amount o f any over t i me hours worked by                               /
    Ronald Ho lmes           and/ o r     his       rep lacement ( s)           shall     be    determined       '\\
                                                                                                                             \
   and this amount of h o u rs sha l l t hen b e paid t o the Complainant                                                            \
   in overtime pay. In the event that the ti t le of this position
   changed d ue to a tempo rary o f f ice                         changing into a               l ong tern
   recovery          office ,    but      the       dut ies      remained         significant l y         the
   same and Holmes              (or his replacement)                   continued to perform the
                                                                                                                             \
   work,       t hen this shall be conside r ed a p osition for which the                                                            /
                                                                                                          ./
   Complain ant is e nt it l e d to back pay.

      ( 3)     The evidence is t oo speculative to allow for b ac k pay
   after any el i mination of t he p os ition r e ferenced immediately
   above in p ara gra ph             (2) .•     The Complainant                 test ified abou t         h ow
   many days she had worke d in past yea rs .                                   However ,      d ue to the
   nature of FEMA' s             business its need for e mploye e s                            t o perform
   disaster         relief varies             significantl y            from      year     to     yea r   and
   varies         wi t hin   FEMA' s      regions          throughout           the     Un ited     States .
   Needs are depen dant upon whether a                                 disaster strikes and,               if
   so ,   the extent of destruction .                       The        record wa s        voi d of what
   FEMA' s        needs were afte r            t he of fer        for work in Region                  6   was
   withdra wn. Therefore , t he Complainant has not established that
   she       is    entitled     to      any     back       pay     other        than     the    back      pay
   previously described in paragraphs (1) and (2) above.

                      Adjustment o f Back Pa y for Time Unavailable

             No tw it hs t anding       paragraphs               (1)     and       (2)      above,        the
   Comp lainant is not e n ti t led to n i ne weeks of back pay during

duration of time that anyone served in this position up to the date of this
Decision. See also footnotes 20 and 22 .
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the        time    she    was   caring      for     her    mother   and unavailable           to
work. The Complainant testified that she cared for her mother
on three separate rotations for two to three weeks each time .
Her first rotation began in November 2005.                           Complainant, H. T. ,
pp.        254-255,      578 - 579.   Thus ,      the     back pay calculation          sha l l
treat the Complainant as unavailable for work for                                   the first
three        weeks       in November        2005.    Because    this      was   a    rotation
system (taking turns wi th other relatives),                          the Complainant ' s
second rotation would not have occurred before 2006 ,                                but she
did not present enough information when her second and third
rotation began .            Thus ,    back pay shall be calculated assumin g
                             "--
h er second rotation would have made her unavailable for work
------ -------                           -- -· - ------- -'
-- -----
during the first three weeks                      in January 2006,         and her third
  .....                                                               ·-   - --------
rotation would have made her unavailable for t he first three
weeks in March 2006.
-----···------------ - - -'
                                             Per Diem

                                                                                                    l   -::-


          The Complainant is not entitled to                  ~     diem monies .       While -:·.-...•
it        is recognized that had she worked she would have received a
per diem allowance , these monies are for l iving expenses whi le
worki ng for FEMA when an e mployee is away from their personal
residence.            The Complainant is not entitled · living expenses
that she did not incur.

                                      Bonus/Award Mon i es

          Complainant is not entit led to a n y bonus money.                        While it
                                                          ·-·---~--------'
is recogn ized that she had received bonus monies i n the past,
there        was   no     evidence     to    establish       that   she    received      such
bonuses every y e ar or that FEMA had monies availabl e                               to pay
bonuses after the Complai nant was re l ease d.
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                                         Attorney Fees

         A prevailing party is entitl ed to a properly supported
award        of     attorney            fees.         29      C.F. R.       1614 . SOl(e) .        The
Complainant filed a petition seeking $167,35 4. 20 in attorney
fees .      The attorney fees were based upon a billing rate of
$225      for     Ray     Smith        and   $200           for   h is    associate,        Melinda
Garlington , during the time period from May 27 ,                                      2005 ,    until
June 9 ,        2007 .    See Complainant ' s                Petition for Attorney Fees
and Costs . The attorney fees were based upon billing rate o f
$325 . 00    for     Ray Smith and $260 . 00                      for his associate              after
July 31 , 2007.            Id .
         The Agency filed a Response to Comp lainant ' s                                 Petition.
The Agency contests the hourly fee amount for both attorneys ,
poin ting out that the Complainant fai led to substantiate the
appropriate community rate. The Agency also argues there was
no     documentation              to    show      that        the        attorneys       had     been
previously been paid at the requested rates in other cases
other than Mr. Smith ' s own affidavit.                             In addition , the case
was described as not complicated and the attorneys' work not
that good to justify the high hourly rates.
       Based       upon      the       above ,        the    Agency       requests       that     Ray
Smith ' s rate be reduced to $225 per hour and his asso ciate ,
Melinda Gar l ington , be paid $150 per hour. The Agency did not
contest the paralegal's rate of $100 per hour.
       In    addition         to       the   rate,          the   Agency        objects     to    the
amount      of     hours     the       Complainant ' s            attorneys       charged        for,
describing them as excessive and unnecessary.                                     Examples were
provided ,        such as,        having two a tt orneys present for a                           four
day trial         wit h    the     only      observable            role    of    the     associate

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attorney being t hat of passing documents or ins truct ive notes
from the Complainant to the primary counsel. Another example
was   charging         for    reviewing     arbitration materials                when     this
case never went              to arbitration.           Likewise,       an objection was
made to the Complainant's attorneys seeking compensation for
preparing     for        oral      argument       on     the     motion      for     summary
judgment     when        oral     argument        was      not     scheduled       for    this
motion.      Billings for emails were also contested based upon
them being billed for by a minimum of fifteen minute time
periods,     irrespective           the    emails       only     being    two      to    three
sentences long.
      In determining the amount of fees to award, part of the
analysis     includes determining the                   correct        hourly rate.        The
Agency's statement              that the        fee    should be reduced is well
taken. I find that the Complainant has not set forth evidence
of the     relevant          cornmuni ty   standard.         The    Supreme      Court     has
held that a reasonably hourly rate is to be measured by t he
prevailing market rates in the relevant corrununi ty .                              Blum v.
Stenson, 465 U.S.               886, 888 (1984). The "burden is on the fee
applicant to produce satisfactory evidence -                             in addition to
the attorney's own affidavits - that the request ed rates are
in line with those prevailing in t he community for                                 similar
services     by        lawyers     of     comparable        skil l ,     experience       and
reputation."           Bl um,    465 U.S.        at 895;     see also;       Loranger v.
Stierheim,        10     F.3d     776,     781     (11th    Cir.       1994).     "For    the
purposes     of        determining        the    prevai l ing       market       rate,    the
relevant community is the area where the agency facility and
the complainant are located."                    Cook v. USPS , EEOC Appea l No.
01A02390     (quoting Black. v.             Army,       EEOC     Appeal    No.     01921158
(Jan. 14, 1993)).

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         In the case at bar, the discrimination occurred at the
 Agency's facility in Orlando,                             Florida. However ,            the Petition
 focuses             on    claimed          rates     in      Atlanta ,       Georgia ,    where       the
 discrimination did not occur and where the Comp l ainant does
 not live . Neither party presented any information of what the
 prevailing rates are for the Orl ando , Florida , area . However ,
 the b urden· was                 on the Complainant                   to show the appropriate
 prevailing               rates        or     that     there      was      not     competent       local
 counsel in the Orlando area to handle this case. Neither o f
 these things were done .
         Not         only        do    I     find    the      hourly      rates      charged     to     be
excessive ,               but some of the requests                      shou l d not be paid at
al l.    I      find that the appropriate hourly rate,                                   for the time
billed for t hus far in this case,                                    is $225 per hour for Ray
Smith and $150 per hour for Melinda Garlington . The rate for
the paralegal of $100 per hour was not challenged and thus ,
it will not be disturbed .
         I     f i nd that fees b i lled from May 2005 through part of
Oct ober         2005          are         premature.         " The     Commission's        complaint
processing regu l ations explicitly provide that fees for l ega l
services performed prior to the filing of the complaint are
allowable                 when        the        Commi ssion          aff irms      on    appeal       an
administrative judge ' s decision finding discrimination after
an      agency            takes       final        act i on     by      not      i mplementing     that
decision . " Savage v.                      USPS ,     EEOC Appeal No .             01A32565       (July
14,     2005) ;           29   C.F.R .       Section 1614 . SOl(e) (1) (iv) .               This h a s
n ot    happened yet ,                so a       request for fees before October                      10 ,
2005         (t he    date       of        the    Compla inant's         forma l     complaint)        is
premature.



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     I        further find that the fees for the following claimed
items set forth below are denied:
         1)      1. 5  hours   on    November   14 ,   2006 , for
                 arbit rati on prepara tion a nd conference with
                 client. The conference was billed together
                 with the c laimed a rbitration preparation and
                 cannot be separated . I n any event , this case
                 was not scheduled for and did not go to
                 arbitration , thus , the req uest f or such fees
                 are den ied .

         2)      . 60 hour on December   15 , 2006 , fo r review of
                 post    arbitration     brief .   This    is   not
                 applicable to the       case at bar for the
                 reasons set forth in    number 1 above.

         3)      2.5 hour s on February 7 , 2007, fo r multiple
                items with the most time consuming task
                being the preparation of a         letter and
                subpoena to BOA . There is no subpoena p o wer
                in the administrative hearing process and
                thus , if a subpoena was issued it should not
                have been and time claimed for such act i vity
                is denied .

     4)         . 50 hour on March 8, 2007 , for review of
                FEMA ' s civil procedure rules .   This is
                denied because FEMA has no civil procedure
                rules to govern the administrative hearing
                process.

     5)         2 . 50  h ours    on   April    27 ,   2 007 ,   for
                preparati on of "hearing " o n Agency's Motion
                fo r Summary Judgment .    A Pre -Hearing Report
                was issued on        January 18,     20 07 ,   which
                memorialized the den ia l       of the summary
                judgment motion and thus, there was no need
                to p repar e to a rgue the mot ion .

    6)          . 25 h our by unkno wn "VHW" which ref l ects a
                billing rate more t han that of a paralegal.
                The only specific information set fort h by
                the Complainant in her petition for fees wa s
                for Ray Smi t h    (RSS) , Melinda Garlington
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               (MAG), and paralegals.                Thus,   work performed
               by "VHW" is den ied.

       7)      12 . 75 hours for various items in May 2007 by
               unknown "VHW." Refer to number 6 above.

       8)      10.5 hours for various items in July 2007 by
               unknown "VHW . " Refer to number 6 above .


      It should be noted that when the Complainant subrni tted
her fee petition she submitted claimed totals on a month by
month basis which grouped the hours and fees together for the
paralegal ,    the associate attorney and the primary attorney,
even though the requested fees for these individuals were at
different rates. See AJ Exhibit 1 . Only by t he t ime consuming
process of reviewing the attached billing statements for each
month could it be determine d                   how much time       each individual
had   worked     on    the    case .   These         charges    should        have    been
separated by the Complainant when the Pet ition was filed .
      When the Agency          requested a           rate    reduction the Agency
did not take the time to recalculate the figures.                              Altho ugh
the Agency requested lower billable rates for the attorneys
and to have some requested hours excluded, it did no t contest
the mathematica l calculations of t he Complainant's fi gures in
AJ Exhibit 1.
       The    undersigned Administrative Judge                     has   recalculated
and   adjusted    the    figures       in       AJ   Exhibit   1    based      upon   her
rulings made above,           i.e.,    a    rate of $225 for Ray Smith,                 a
rate of $150 for Melinda Garlington ,                   a rate of $100 for the
paralegal, the correction for the premature request for fees
occurring     before    the    formal           complaint    was    filed ,     and   the
denial of fees for numbers 1-8 listed above . Based upon these
adjustments th e new calculations are :
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                                     ___________
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         October 10 , 2005 to                  $618.75
         to October 31, 2005
         November 2005                         $743.75
         December 2005                         $675.00
         January 2006                          $1068.75
         February 2006                         $4006.25
         March 2006                            $1687 . 50
         April 2006                            $1237 . 50
         May 2006                              $1106.25
         June 2006                             $506 . 25
         July 2006                             $618.75
         August 2006                           $1012 . 50
         September 2006                        $3 , 018 . 75
         October 2006                          $6 , 168 . 75
         November 2006                         $10,581.25
         December 2006                         $12 , 496 . 25
         Ja n uary 2007                        $9 , 300 .
         February 2007                         $8,049.
         March 2007                            $34 31. 25
         April 2007                            $6 , 875.
         May 2007                              $41 , 043 . 75
         June 2007                             $1,732.50
         July 2007                             $11 , 625.
                            TOTAL :            $ 1 27,602 . 75


         However , the above does not complete the fee analysis .                             I
find that a significant number of hours claimed are excessive
and unnecessary.         Al though Complainant ' s              counsel argues             that
because      of    his   expertise       he    should    command           a    high   hourly
rate ,    he neverth eless appea r s           for the four day hearing with
co- counsel .      Despite   havin g       co-counsel        at      the       hearing ,   co-
counsel      did   not   question        any   witnesses        or    g i ve     either    the
opening or closing argument . Additional concern pertains to
bil l ings    in May of      2007    that      corruningle       travel        t ime with a
large amount of time           spent with wi tnesses ;                however ,        travel
time should be billed at 50 per cent of the attorneys '                                normal
billing rate .       This was not taken into account. Time spent on
discovery appear s excessive.              In addition ,         the Agency provided
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 accurate examples of bi l li n gs for emai ls based upon a mini mum
 of fifteen minute time pe r iods, irrespective of the l ength or
 content of the emails.
        Whe n    a    fee   reduct ion          is    in order b as e d              on    excess ive
hours, s uch a s this case , t he Commission may reduce the hours
by     an across - the-board             reduction         rather           than b y       a precise
hour     reduction .        Bunch        v.    Department              of    Agriculture,          EEOC
Appeal No. 07A30055 (January 30 , 2004); Bernard v . Department
of     Veterans       Affairs ,         EEOC    Appeal          No .        01966861       (July    17 ,
19 98) . I de cl i ne to e ngage in a l ine by l ine analysis of the
re quests,      but instead make the general observation that the
h our s b illed merit a reductio n .
        Based upon both p arties '                   s ubmissions             and the ev idence
presented I          find that an across - t he-board                         reduction of ten
per     ce nt    is     appropr i ate .         Therefore ,             the     Complainant           is
awarded the sum of $114 , 842 . 48 for attorney fees .

                                                Costs
                                                - --
        The Complainant claimed $ 9 , 832 . 30 for                            costs associated
with     t rave l     and       other        items    (h ote l,         meals ,      rental        car ,
parking , tolls,         transcripts,            courier services ,                 long distance
t e lephone          call s ,        photocopying,                     postage ,           facsimi l e
transmi s sions ,        etc . ) .      Courts        have        long        r ecognized          that
reasonable          out- of-pocket           expen ses     incurred            by    an     attor ney
which     are        normally        cha r ged       to        fee-paying           c lients        are
reimbursable .        Commission precedent requires tha t                              a   petition
seeking     reimbursement               of    costs       be     supported          by     detailed
documenta t ion , i n cluding receipts. Drummond- Irving v. Depart .
Of    Homeland       Security ,      EEOC Appeal               No .    0720060051          (May    17,
2007); citing t o ; Canady v. Depart . o f t he Army, EEOC Request

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No.   05890226             (December 27 ,      1989).     In Hendley v.        Depart.    of
Justice,            EEOC    Appeal     No.     01A43034     (March    30 ,     2005),    the
Commission,           on appeal of an Agency's Final Agency Decision,
held that the Complainant was not entitled to costs because
the   record was void of receipts                       or bills documenting            such
costs      even       though     the    Complainant ' s      attorney        provided     an
Affidavit detailing t he specific costs incurred.
        In the case at bar, the Complainant's attorney submitted
his office log noting such expenses,                        but he did not attach
any receipts               or bills    from vendors .        Based upon Commission
precedent,           the Complainant has not proved her claimed costs
because     of        her    failure     to    provide     adequate       documentation.
Therefore , Complainant is not awa rded any costs.


                              Summary of Monetary Awards


      1.    I        find    that     the    Complainant     is   entitled        to    non-
pecuniary compensatory damages in the amount of $60,000 .
      2.     I f ind that the Complainant is not entitled to costs
due to insufficient information and documentati on .
      3.        I     find      that     the       Complainant       is      entitled     to
$114,842.48 for attorney fees.
      4.     I find that the Complainant is entitled to back pay
which shall be calculated based up on~the f ormulas set forth
in the Back Pay section of this Decision.                         ~       pages 51-53 of
                                                                                               -
this Decision.




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                           Non-Monetary Corrective Action


            I hereby award t h e following relief:
            1.   The   Agency    shall   post     at   all   of          FEMA' s      EEO     and
     personnel of fices throughout            the country 24 ,         irmnediately upon
                                                                  ..   ---- ------···-----·--- - ...._.
      - ----
     receipt of this Decis ion and in conspicuous locations
     as, an employee
                                - - - - - ----------·-- - ----··· ·-· ..,
                            bulletin board and a ll places where notices
                                                                          (such


     to employee s     and applicants      for     employment are               customarily
     posted) , copies of the attached Notice after being signed by
     the    current    Mitigation    Region      Director    f or         Region       4.     The
     Notice shall remain posted and be maintained by the Agency
     for one hundred and twenty days             (120) consecutive days.                     The
     Agency shall take reasonable steps to assure that the Notice
     is    not altered ,    defaced or covered by any other material.
     The Notice to be posted shall read as follows:


                                         NOTICE

     A.   Thi s Notice is being pos ted as part of the remedy in a
     Decisio n by the Equal Employment Opportunity Commission which
     found that unlawful race and gender discrimination and
     retaliation occurred at the Long Term Recovery Office in
     Orlando , Florida .

    B.    Federal law requires that t he r e be no d i scrimi nation
    against any employee because of t he employee's race or sex,
    or because of the employee's participation in protected EEO
    activity .    Federal    law  requires   that there     be    no
    discrimination or retaliation wi th respect to the terms ,
    conditi ons , and privileges of employment.


24   It is necessary to have a nationwide distribution given the Agency ' s public
announcements to managers and staff that the Complainant was the subject of an
administrati ve investigation and released . This is also important because some
DAEs have worked in various locations in the country, including but not limited
to , Orlando, Florida .


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v ....   11   ._....,.    .&.I-   v.a. •   ....,.._j                                                                                                                                              I   -   -   -



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                         C. . The Department of Homeland Security (Federa l Emergency
                         Management Agency) will support and will comply with such
                         federal laws in all respects and will not take any ac.tion
                         against empl oyees because they exercise their right s under
                         the law.

                         D.   The Department of Homeland Security (Federal Emergency
                         Management Agency) has taken or will take the remedial act i on
                         ordered in the Decision.



                                                                                                  [INSERT SIGNATURE OF
                                                                                                  CURRENT MITIGATION
                                                                                                  DIRECTOR FOR REGION 4)


                                                                                  ***

                                   2 . The Agency shall require Janet Lamb, Wayne Box, Kathy
                         Johnston ,                    and   Cindy    Bourgeois ~-C? -· -~-~j:: ef1_9_ ..t:.:i::a.J:ni!"lg _._on __ :t._b.e___,
                         requirements of Tit le VII on an annual basis for the next two
                                                                                                                             '-·-· --~---·----- ···-'·~-·-·                    .......- ···-.:.
                     years.                Said training shall be provided by an attorney that
                                                                                             ..                      ....-
                                                                                     '·--~··---- ----·· ··----·-~-----       - .. '-·--A·------ --•·••.••.. ---•'""' ....... ··-·--··-- -
                     has at least five years of experience working with Title VII
                    --- ------- --- --~---·------ --                                       - ··--------· ·---                        ---- -·                    --··-· -·-
                     cases . The first EEO training session sha l l be at least eight
                     hours             in          length       (of which        fou r      hours             shall                be           devoted                        to
                     harassment issues and at least two hours spent on retaliation
                     issues , with a portion o f this time spent on responsibilities
                     of supervisors when they observe racially derogatory language
                    being used in t he workplace)                                  and occur within six months of
                     this Decision .                         Th e   second training session shall take place
                     within twelve months of the first session , b ut no sooner than
                     nine months after the first training session , and shall be at
                     least four hours in l ength.
                                   It         is        also    highly     suggested               that          the             Agency                     provide
                    b asic EEO training to its DAEs with special emphasis on what
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     to do when an employee hears derogatory language used in t he
     workplace against any "protective catego ry" under Title VII .
              3.       Janet                    Lamb,      Wayne     Box,           Kathy             Johnston ,                   and         Cindy
                       ···- --   ·---- .   - ·--·-- ---
     Bourgeois               shall               attend       training             in        racial              sensi ti vi ty over


    -the next t wo years.
     l east        a    two                day course
                                                          The first
                                                                   and      occur
                                                                                 training session shall be at
                                                                                             within              six         months.                      The
     second training session sha l l                                      t ake place wi th in twe lve months
     of the first                          session,          but no sooner than nine months after
     the fir st training session , and shal l b e at least one day.
              4.       Within two weeks from the date of this Decision the
                                                                                  - --- - -- -- ••M-•""••••••••••·-·-- -----....-••••4••• ........   _,~··· -- ··· ---   -~   .....
     Agency shall                      expunge from Complaina_r;_t:_'__~p~rs~~l file or any
                                                                                                                                         - - - ------ ·-------·--·

    --
     other file
     documents
                   - --- ---
                                  (other than the Agency's lega l
                      which reference,                                    incorporate
                                                                                                           files)
                                                                                                            or         ref er
                                                                                                                              any and all
                                                                                                                                          to             the
     administ rative investigation of the Complainant, her release,
     or her subsequent requirements to take a course and complete
     a mentoring assignment. The administrative investigatory file
     shall also be expunged, except from the Agency's legal files.
              5.       The                 Agency         shal l     not         require                the          Compl ainant                             to
                                                                                                                    -- -----·------.
     complete a mentoring assignment.
    -------·------------·-··-·--·---··~~----,                               ----
                                                                          ...
              6.
              The Agency shall change the Complainant ' s evaluation
                                                         ....------ ·- - -·-
     contained within the ROI as Ex. F2, p . 75 to re flect a "s+"
     as her rating on supervisor elements 1, 4 , 5 ,                                                                6, and 7 , and a
     "s+" on supervisor elements 2 and 3 25 •                                                           The foll owing words
     shall be            redacted:                    "Sylvia was                released from                          this           disaster
     pending           the                 outcome          of      an          administrative                         investigation .
     Supervisor                  rating             not      evaluated .                   At       this           time           rating                     is
     pending           outcome as                         stated     above.            I      don't             f eel         I      have               the
     authority                    to           provide             these           job            rating .                  5 /27 . "                   The

2 5 The se new rating s ~~ ill be , as c l o se as possible, reflective of the comments
written on her nomi nation for an award on January 6, 2005, just befo re the
discrimination began. Agency Ex. 2.
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     Complainant's handwri t ing shall also be redacted where                                                                             she
     wrote "Signed in rece ipt only ,                               pending review and advise of
     coun sel .n The above correction s shall be made t wo weeks from
                                                                     --- ·---- ------·---· ..   ----··-- ·--~           - - · -·----·            . ·-
     the date o f
             this Decision                              and a new evaluation provided to
      -------------·                                    ···- -·   ---·----
     the   Complai nant           for        signature.               (The     o r iginal May                      27 ,               2005
     dates shall remain on t he evaluat ion) .                                    Once the Complainant
     signs        this         evaluation           and           returns       it     to         the               Agency ' s
     Repr esen tative            it       shall        become            her     official               performance
     appraisal for May 2005 and placed in h e r p e rs onne l                                                   file. The
     uncorrec ted vers i on shall be expunged , excep t                                      for a copy for
     the Age ncy 's l e gal fi les.
             In    t he    event         that       the      redactions            are      obvious                       and                 it
     makes t he document appear a l t ered , then a brand new document
     shall be crea t e d to reflect t he above .
             7. The Agency shall issue the f ollowing the                                          ~mai l                   within
                                                                                                   ...-·..-··-·······"·--··- -·-·# ....... .............. :. .
     two   weeks          of     the    date o f this Decision to                                    all                 of              its                     .... ..   -·
    --------- ---                     -----------...- ... . ......_.. _,. -··--··-··--···---...
     emp loyees nationwide 26 and said emai l                                  shall be sent from t he
     Mitigat ion Re gion Director for Reg ion 4:


              We are fortunate to announce to you that Sylvia
              Farrington,     one  of  our    past   and   highly
              r espective managers , has agreed t o return to
              work for FEMA.      She has consis tent ly proven
              herself    in performing    both management     and
              programmat i c responsibilities in a n outstanding
              manner . She has worked both i n the field and at
              h eadquarte rs   so  she  brings     a  wealth   of
              experience with her . Many of the proce sses she
              has developed in the past have been exten sive ly
              uti l ized and a training course s he developed

26   See footnote 2 4. I t should be no t ed that t he vast majori t y of                                        the language
for this email was t a ken from the Complainant ' s n omina tio n for an                                         award , dated
Janu ar y 6 , 2005 . Agenc y Ex. 2 . Th e Agency shall provide a copy                                            of the email
(and verification of i t s d issemination) t o the Complainant within                                             one wee k of
its d i stribution .

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            was of such high calibe r it was used throughout
            the    country . Her   leadership   ski ll s and
            management style s upports teamwork and we are
            fort unate to have h er return. Welcome Back
            Sylvia!


  8.     The Agency has represented that there is a posi tion for
the Complainant .           Therefore ,      in l i eu of front                                 pay the Agency
shall     immediately          place      the       Complainant                        in          a         comparable
                                                                                               ----------~--- ------ ---·~ -·---



managerial positi<2E_to             th_~- C~~pla inant 's                  Branch Chief position
that    she h eld in Orlando ,             Florida ,             in 2005 .                     This comparable
managerial       position       shall      be     in       Cadre           4       (or           other            type       of
position located in Cadre                  4 or elsewhere if the Compl ainant
voluntarily agrees ).             The Agency must ensure that the posit ion
is not under the supervisory authority (direct or indirect) of
Janet     Lamb      and/o r     Wayne       Box.       Thus,               when                appointing                  the
Complainant        to   a   position        in     Cadre          4        it       must               do        so    while
meeting the above requirements.                        If the circumstances require
t hat Janet Lamb and/or Wayne Box be tran sferred to a different
Cadre in order to meet the requirements set fort h above ,                                                              then
t h e Agen cy i s required to enact such a transfer.
        IT IS SO ORDERBD.
      ------
                                            NOTICE

       EEOC regulations require the Agency to take f i na l action
                                                .......                    ~--· -····-----~-    ----...
                                                        .. ··-·--··-...... - ........-......... ..        -~--


 on    the complaint by issuing a final order withi n forty
--·--·-------
 cal endar days of              receipt . of           the        hearing                       fi l e           and    this
~~~~--~~~--~-~~·                     --·--~--·-·· --        ..    ·-:::?                           ·- ·- --·-- ---· --··· --- -· ---
 decision .          The      Agency' s         f i n al         order             shall                  notify           the
 Complainant        whether or not              the Agency will                                ful l y           implement
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defendant in any such lawsuit and the applicable time limits
for such appeal or lawsuit . The Complainant may appeal to the
Corrunission      within       thirty      calendar   days      of     receipt              of    the
Agency ' s      final    order    concerning      its   implementation                of         t his
decision .       If the final         order does not           fully    implement this
dec i s i on,    the Agency mu st also simultaneously file an appeal
to    the       Commission      in    accordance      with      29     C.F.R .           Section
1 614.403, and append a copy of the appeal to the final order.
A copy of EEOC Form 573 must be attached to t h e final order .
       The       Complainant         may    not   appeal        to     the          Commission
directly from this deci sion unless the Agency has not issued
its final order within
                .                                 _____
                                                  i t s___rece
                       forty calendar days of___._____              ipt
                                                          . ______ ____
                                                          _.
                                                                                o f......
                                                                        ---------·----.
                                                                         ......._     .,.....



the hearing file and this decision.                       If the Complainant                          is
           - - - - -------------------·--·------·-'•
filing a direct appeal under these circumstances,                                   a copy of
the Administrative Judge ' s decision should be attached to the
appeal .        The Complainant should furnish a copy of t he appeal
to the opposing party at the same time it is fi l ed with the
Commission , and should certify to the Commission the date and
method       by which such service was made on the opposing party .
     All       appeals    to    the   Commission      must      be     filed         by         mail,
personal delivery or facsimile to the following address :
                           Director
                           Off ice of Federal Operations
                           Equal Employment Opportunity Commission
                           P. O. Box 19848, Washington , D. C . 20036
                           Fax No . (2 02) 663- 702 2
     Facsimile          transmissions over ten pages wi l l not                                  be
accept e d .
                  COMPLI ANCE WITH AN AGENCY FINAL ACTI ON

     An Agency ' s fi na l       action that has not been the s ubject
of   an appeal to t he Corrunission or civil action is bindin g
on the Age ncy. See 29 C . F . R. §1614 . 504 .                If the Complainant
                                  67
Jan 20    12 01:35p            S~lvia      E.   Farrington                    C828J     251-occc          p • 'tU
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         believes       that    the   Agency has            failed       to    comply        with   the
         terms of a final action,                 the Complainant shall notify the
         Agency's        EEO    Director ,         in       writ ing ,        of      the      alleged
         noncompliance         within        thirty        calendar       days        of     when   the
         Complainant        knew      or     should        have     known      of      the    alleged
         noncompl iance.           The Agency shall                resolve the matter               and
         respond to the Complainan t                  in writing within thirty days.
         If    the     Complainant         is   not     satisfied         with        t he   Agency's
         attempt to resolve the matter,                     the Complainant may appeal
         to the Commission for a determination of whether the Agency
         has   complied        with   t he      terms      of     its    fina l     action.         The
         Complainant may file such an appeal within thirty calendar
         days of receipt of t he Agency ' s                     determination or,              in the
         event that the Agency fails                    to respond ,          at least thirty-
         fi ve calendar days after Complainant has served the Agency
     with notice of the alleged noncompliance.                                     A copy of the
     appeal mus t be served on the Agency .                             The Agency may submit
     a response to the Corrunission within thirty calendar days of
     recei vi ng the Complainant' s notice of appea l .




     £=-G-      ~<i~
     Eve G. Friedli
                                                                  Date : September 26 , 2008

         Administrative J u dge




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                                                  Farrington Bi/Jing Summary
                                                              Prepared 08/07/07
                                                          May 2005 through July 2007

  MONTH                                  ATTY.FEES                          EXPENSES          TOTAL HOURS

   May 2005                                                        450.00                                          2
  June 2005                                                        912.50              4.37                      4.5
  July 2005                                                        562.50              6.50                      2.5
  August2005                                                       788.75                                      3.95
  September 2005                                                  393.75                                       1.75
  October 2005                                              1,081.25                  1.30                     5.25
  November 2005                                                   743.75             17.34                     3.75
  December 2005                                                   675.00              6.94                         3
  January 2006                                             1,068.75 '                 4.99                    4.75
 February 2006                                             5,056.25               1,453.83                    27.5
 March 2006      ...                                      1,687.50                  597.06                      7.5
 April 2006                                               1,285.00                                            5.25
 May 2006                                                 1,235.00                                            5.25
 June 2006                                                        585.00                                      2.25
 July 2006                                                       7 15.00              0.39                    2.75
 August 2006                                             1,170.00                     3.19                      4.5
 September 2006                                          3,549.00                     9.14                       14
 October 2006                                           8,223.00                     65.60                  35.25
 November 2006                                        13,131.00                    213.55                   58.25
 December 2006                                        15,799.80                  1,396.27                    81.1
January 2007                  ...                     11,,908.00                   327.87                    52.5
                            . ......,."t ·: ~·
February 2007                                         10.'
                                                       ... \ ,/-'358.00               3.08                  48.75
March 2007             ..                          ,,
                                                 . ,.  4    ' 290.00                  0.88                  17.75
April 2007                                             9,297.00                    799.59                       42
May 2007                                              53,492.00                  4,767.95                     259
June 2007                                              2,046.40                     92.36                      8.8
July 2007                                             16,850.00                     60.10                    84.5

          TOTAL:           167,354.20                                           9,832.30               788.35
TOTAL OF ATTORNEY'S FEES AND EXPENSES:                                                            177,186.50




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